Case 4:24-cv-04722-YGR   Document 98-3   Filed 01/20/25   Page 1 of 48




              EXHIBIT 2
       Case 4:24-cv-04722-YGR                     Document 98-3               Filed 01/20/25            Page 2 of 48




Partnerships Between Cloud Service
Providers and AI Developers
FTC Staff Report on AI Partnerships &
Investments 6(b) Study




Federal Trade Commission
Office of Technology Staff
January 2025
The views expressed in this staff report are those of the authors and do not necessarily reflect the views of the Commission or any
individual Commissioner. This staff report does not reflect any assessment as to whether anyone has engaged in illegal conduct.
         Case 4:24-cv-04722-YGR                              Document 98-3                     Filed 01/20/25                  Page 3 of 48




Table of Contents

1. Executive Summary ................................................................................................................................ 1
   Summary of Findings ............................................................................................................................. 2
2. Background ............................................................................................................................................. 3
   2.1 - Current Technological Landscape ................................................................................................ 3
   2.2 - Context of the 6(b) Study ............................................................................................................... 4
   2.3 - Technology Acquisitions and Partnerships .................................................................................. 6
3. The AI Technology Stack ....................................................................................................................... 8
   3.1 - AI Semiconductor Chips ................................................................................................................ 9
   3.2 - Cloud Computing ......................................................................................................................... 10
   3.3 - Data and Models ........................................................................................................................... 12
   3.4 - AI Applications ............................................................................................................................. 15
4. Key Terms of the AI Partnerships....................................................................................................... 16
   4.1 - The partnerships provide CSP partners significant equity and certain revenue-sharing
   rights in their AI developer partners. ................................................................................................. 17
   4.2 - The partnerships provide CSP partners certain consultation, control, and exclusivity rights
   with respect to their AI developer partners to varying degrees. ...................................................... 18
   4.3 - The partnerships include cloud commitments that require AI developers to spend a large
   portion of their CSP partner’s investment on cloud services from their partners. ........................ 19
   4.4 - The partnerships permit the sharing of key resources and information. ................................ 21
       4.4.1 - The partnerships provide AI developer partners, which require large amounts of
       computing resources to train and operate their models, discounted access to computing
       resources. ........................................................................................................................................... 21
       4.4.2 - The partnerships provide CSP partners, which are developing their own AI models,
       access to assets and intellectual property related to the AI developers’ cutting-edge models. .. 22
       4.4.3 - The partnerships may permit CSP and AI developer partners to embed engineers in one
       another’s companies, allowing for information transfer about technology and intellectual
       property. ............................................................................................................................................ 23
       4.4.4 - The partnerships provide CSP partners access to performance and financial data of AI
       models and infrastructure needs of AI model developers. ............................................................ 24
       4.4.5 - The partnerships permit CSP and AI developer partners to share or otherwise obtain
       training data. ..................................................................................................................................... 25
       4.4.6 - The partnerships include co-development plans for CSP-designed semiconductor chips
       optimized for the needs of AI developer partners’ models. .......................................................... 26
   4.5 - The partnerships offer CSP and AI developer partners opportunities to expand current
   products. ................................................................................................................................................ 27

                                                                               i
         Case 4:24-cv-04722-YGR                               Document 98-3                     Filed 01/20/25                  Page 4 of 48



       4.5.1 - The partnerships offer CSP partners the ability to integrate their AI developer
       partners’ AI models into their existing products and tools........................................................... 27
       4.5.2 - The partnerships offer AI developer partners potential paths to growth through the
       CSP partners’ cloud platforms or product integrations with CSP products. ............................. 28
5. Areas to Watch Regarding Potential Implications of the AI Partnerships ..................................... 29
   5.1 - The partnerships could affect access to certain inputs, such as computing resources and
   engineering talent. ................................................................................................................................. 30
       5.1.1 - Access to computing resources ............................................................................................. 30
       5.1.2 - Access to talent....................................................................................................................... 31
   5.2 - The partnerships could increase contractual and technical switching costs for AI developer
   partners. ................................................................................................................................................. 32
       5.2.1 - Contractual Switching Costs ................................................................................................ 32
       5.2.2 - Technical Switching Costs .................................................................................................... 34
   5.3 - The partnerships provide CSP partners access to sensitive technical and business
   information that may be unavailable to others. ................................................................................. 34
6. Conclusion ............................................................................................................................................. 37
Appendix A. Order Specifications........................................................................................................... 39




                                                                               ii
      Case 4:24-cv-04722-YGR                  Document 98-3            Filed 01/20/25          Page 5 of 48




1. Executive Summary
This report presents FTC Office of Technology (“OT”) staff’s findings from the agency’s 6(b) study into
three partnerships involving generative artificial intelligence (“AI”): Microsoft-OpenAI, Amazon-
Anthropic, and Google-Anthropic. 1 These partnerships involve relationships between the world’s current
largest Cloud Service Providers (“CSPs”) and two of the most prominent AI model developers. These
partnerships therefore have potential for significant impact on AI technology, workers, and consumers.
Through the 6(b) study, OT staff sought to better understand the nature of these relationships, including
any ongoing obligations between the companies, to evaluate their potential impact on the marketplace. 2
For an individual using an AI chatbot to write a wedding speech or a small business owner generating
logo ideas with an AI image generation model, corporate partnerships may seem abstract or distant. Yet,
these partnerships may potentially impact AI model development—including which firms may effectively
participate in the marketplace—and may determine many aspects of those individuals’ and firms’
experiences. For these reasons, the agency’s 6(b) study sought to understand the motivations and impacts
of these partnerships on cloud computing and generative AI spaces.
The Commission issued the 6(b) orders to the five respondents in January 2024 and the respondents
provided information through September 2024. AI technology is rapidly evolving, and therefore the
context of this work may continue to evolve. The findings represent the information available to OT staff
about these corporate partnerships as of September 2024 as well as publicly available information through
January 2025.
This report is aimed at helping the agency, the public, and policymakers deepen their understanding of the
corporate partnerships formed between the generative AI developers and CSPs included in this study.
This report summarizes the findings from the 6(b) study, providing timely insight to the general public
that is not otherwise available, including through previous reporting on the partnerships. It also equips the
agency to better evaluate the attributes and potential implications of partnerships involving large
technology companies and the impact they may have on hundreds of millions of consumers, countless
businesses, and huge segments of the economy now, and not years after the fact. Even in places where
public reporting had already described certain partnership features, non-public information helped to
enrich staff’s—and therefore this report’s—analysis of the partnerships.
The information presented in this report has been aggregated or anonymized as necessary to protect trade
secrets and confidential or privileged commercial or financial information submitted by respondents.
Staff notes that this report is not a formal legal or economic analysis of the partnerships or markets and
should not be interpreted as such. The observations discussed in this report are limited to a narrow set of
information and documents submitted by the five 6(b) respondents through September 2024. A
comprehensive analysis of the subject partnerships is beyond the scope of the report. The technologies

1
  For the purposes of this report, generative AI is used to refer to the class of machine learning models that emulate
the structure and characteristics of input data in order to generate derived synthetic content. This can include images,
videos, audio, text, and other digital content, as defined in Exec. Order No. 14110, 88 Fed. Reg. 75191 (Nov. 1,
2023), https://www.federalregister.gov/documents/2023/11/01/2023-24283/safe-secure-and-trustworthy-
development-and-use-of-artificial-intelligence. This report uses the term AI as a shorthand for generative AI,
because generative models are the only ones we discuss here except where otherwise noted.
2
  In this report we use the terms “marketplace” and “market” interchangeably. The use of these terms is meant to
reference the word as it is generally understood; it should not be construed as an attempt to define an antitrust
market.
                                                           1
      Case 4:24-cv-04722-YGR                 Document 98-3            Filed 01/20/25         Page 6 of 48



discussed in this report are rapidly evolving, and therefore the implications of the partnerships may
continue to evolve.

Summary of Findings
The report contributes to the public’s understanding of the evolving AI landscape in three ways. After
providing background and summarizing the context in which this study was conducted, the report first
describes the AI technology stack, according to OT staff’s current understanding. Second, the report
summarizes key terms of the AI partnerships based on review of the non-public documents produced in
response to the study, as well as public reporting on, and public statements by, the respondents. Third, the
report highlights certain areas to watch going forward: how the AI partnerships may affect access to
certain inputs, how contractual terms and technical barriers may affect switching costs, and whether
information exchanged in the partnerships might provide CSP partners access to sensitive technical and
business information that may be unavailable to others. Since the study was limited to three corporate
partnerships, any analysis of partnership terms in this report should not necessarily be construed to apply
to all potential relationships between CSPs and AI developers.
Through information received via the 6(b) study, including non-public information, staff explored the
potential “nature and extent of interactions with and influence over” each respondent from the
partnership. 3
Key Terms of the AI Partnerships
Section 4 of this report highlights the following key terms 4 of the AI partnerships:
    1. The partnerships provide CSP partners significant equity and certain revenue-sharing
       rights in their AI developer partners. The partnerships also leave open the possibility that the
       AI developers could be fully acquired by the CSPs in the future.
    2. The partnerships provide CSP partners certain consultation, control, and exclusivity rights
       with respect to their AI developer partners to varying degrees. In some cases, the agreements
       include exclusive or preferential treatment of the CSP partner and the ability to potentially
       influence the AI model developer partner through board seats and consultation rights.
    3. The partnerships include cloud commitments that require AI developers to spend a large
       portion of their CSP partner’s investment on cloud services from their partner. This feature
       of the partnerships—circular spending—is one avenue through which CSP partners may
       potentially aim to reduce the magnitude of potential loss invested directly into their partners and
       cloud infrastructure to serve their partners.
    4. The partnerships permit the sharing of key resources and information. These resources
       include, to varying degrees, discounted access to computing resources for AI developer partners;
       intellectual property, and performance and financial data for CSP partners; and engineering
       personnel and training data for both partners. The partnerships include co-development plans for
       CSP-designed semiconductor chips optimized for the needs of AI developer partners’ models.




3
  Fed. Trade Comm’n, AI Investments and Partnerships 6(B) Study Sample Order (2024),
https://www.ftc.gov/system/files/ftc_gov/pdf/P246201_AI_Investments_6%28b%29_Order_and_Resolution.pdf.
4
  Each of these terms may not apply to each of the partnerships; more specificity can be found in Section 4 of the
report.
                                                          2
      Case 4:24-cv-04722-YGR              Document 98-3          Filed 01/20/25        Page 7 of 48



    5. The partnerships offer CSP and AI developer partners opportunities to expand current
       products. In some cases, this includes integration into CSP partners’ first-party products or
       deployment of AI developer partners’ models on CSP partners’ cloud platforms.
Areas to Watch Regarding Potential Implications of the AI Partnerships
Section 5 of this report identifies certain areas to watch going forward, which are not necessarily
representative of all the partnerships’ potential implications. A fulsome analysis of these issues is beyond
the scope of this report but could be done using traditional antitrust tools and principles. The areas to
watch include the following:
    1. The partnerships could affect access to certain inputs, such as computing resources and
       engineering talent. The partnerships might affect the likelihood that a CSP partner would
       consider limiting access to inputs such as computing resources for AI developers other than its
       partner. The partnerships could also affect the availability of AI developer engineering talent.
       This could impact competition for both AI developer partners and non-partner AI developers.
    2. The partnerships could increase contractual and technical switching costs for AI developer
       partners. The partnership agreements may increase switching costs via contractual commitments
       (including exclusivity requirements) and technical barriers. This can make it more difficult for AI
       developer partners to change CSPs or restrict their use of multiple CSPs.
    3. The partnerships provide CSP partners access to sensitive technical and business
       information that may be unavailable to others. The partnership agreements provide CSPs
       access to certain technical and business information that other CSPs and AI developers may not
       have, including information related to generative AI models, AI development methods,
       confidential chip co-design, partner finances, and customer usage and revenue numbers. CSPs
       may be able to use this information to develop their own internal models and applications,
       including products that may compete with those of their partners.

2. Background
2.1 - Current Technological Landscape
The rapid and widespread development and deployment of generative AI has driven significant changes
across society, including knowledge acquisition, creativity, and productivity. Generative AI has captured
interest across commercial sectors—including in banking and financial services, healthcare,
transportation, legal and professional services, customer service, travel, journalism, education, and
marketing.
Although commercial generative AI is not completely new, public interest and investments in generative
AI have sharply increased in recent years.5 In 2023, billion-dollar AI partnerships began to form or grow,
with the potential to impact the competitive dynamics of the space and therefore impact the quality and
availability of AI products.




5
  Generative AI Venture Capital Investment Globally on Track to Reach $12 Billion in 2024, Following Breakout
Year in 2023, EY IRELAND (May 16, 2024), https://www.ey.com/en_ie/news/2024/05/generative-ai-venture-capital-
investment-globally-on-track-to-reach-12-billion-dollar-in-2024-following-breakout-year-in-2023.

                                                      3
        Case 4:24-cv-04722-YGR                Document 98-3            Filed 01/20/25          Page 8 of 48



Public reporting in late 2023 indicated that CSPs Microsoft, Alphabet (i.e., Google), 6 and Amazon had
invested billions of dollars in AI developers Anthropic and OpenAI, that some of the AI developers had
committed to billions of dollars in cloud spending in return, and that the partnerships also involved other
substantial non-monetary value exchanges. 7
Public reporting and press releases by the partners have described the following partnership details in
terms of monetary value:
                                                       Table 1

                                           Summary of Publicly Reported Investment $
                          Microsoft-OpenAI        Amazon-Anthropic         Google-Anthropic
                                         8                   9
    Investment            $13.75 billion          $8 billion               $2.55 billion 10
    amount


However, publicly available information and the companies’ marketing and press releases still left gaps in
the public and staff’s understanding of the nature of the partnerships—including both the potential
market-level impact of the partnerships and more granular details of the exchange—which motivated this
6(b) study.

2.2 - Context of the 6(b) Study
In January 2024, the Commission voted to authorize a study pursuant to Section 6(b) of the FTC Act into
the partnerships between two leading AI developers and three large CSPs. 11 The orders focused on the


6
  This report refers to Alphabet in this way because a number of Alphabet’s services are Google-branded, such as
Google Cloud Platform.
7
  Berber Jin & Tom Dotan, Tech Giants Spend Billions on AI Startups—and Get Just as Much Back, WALL STREET
JOURNAL (Nov. 3, 2023), https://www.wsj.com/tech/ai/ai-deals-microsoft-google-amazon-7f624054.
8
  Microsoft has publicly stated that it invested $13 billion prior to September 30, 2024; public reporting suggests that
Microsoft invested an additional $750 million in October 2024. See Berber Jin & Corrie Driebusch, The $14 Billion
Question Dividing OpenAI and Microsoft, WALL STREET JOURNAL (Oct. 18, 2024),
https://www.wsj.com/tech/ai/the-14-billion-question-dividing-openai-and-microsoft-71cf7d37 (“Microsoft has
invested $13.75 billion in OpenAI since 2019, including its share of the startup’s latest $6.6 billion fundraise.”);
Microsoft Corporation Form 10-Q for the Quarter Ended September 30, 2024,
https://www.sec.gov/Archives/edgar/data/789019/000095017024118967/msft-20240930.htm (“We have an
investment in OpenAI Global, LLC (‘OpenAI’) and have made total funding commitments of $13 billion.”).
9
  Amazon Staff, Amazon and Anthropic deepen their shared commitment to advancing generative AI, AMAZON
(Mar. 27, 2024), https://www.aboutamazon.com/news/company-news/amazon-anthropic-ai-investment; Amazon
Staff, Amazon and Anthropic deepen strategic collaboration, AMAZON (Nov. 22, 2024),
https://www.aboutamazon.com/news/aws/amazon-invests-additional-4-billion-anthropic-ai.
10
   Berber Jin & Miles Kruppa, Google Commits $2 Billion in Funding to AI Startup Anthropic, WALL STREET
JOURNAL (Oct. 27, 2023), https://www.wsj.com/tech/ai/google-commits-2-billion-in-funding-to-ai-startup-
anthropic-db4d4c50 (“Google agreed to invest up to $2 billion in Anthropic, building on its earlier investment in the
artificial-intelligence company and adding fuel to the race between startups trying to achieve the next big
breakthrough in the emerging technology. ... Google, owned by parent company Alphabet, already invested $550
million in Anthropic earlier this year.”).
11
   Press Release, Fed. Trade Comm’n, FTC Launches Inquiry into Generative AI Investments and Partnerships (Jan.
25, 2024), https://www.ftc.gov/news-events/news/press-releases/2024/01/ftc-launches-inquiry-generative-ai-
investments-partnerships. As discussed below, each of the CSP partners also develops and deploys generative AI
products. However, their unique role in the partnerships is defined by their provision of cloud services, so this report
refers to them as CSPs.
                                                           4
       Case 4:24-cv-04722-YGR               Document 98-3            Filed 01/20/25        Page 9 of 48



Microsoft-OpenAI, Amazon-Anthropic, and Alphabet-Anthropic partnerships because, based on public
reporting, these were the largest such partnerships. 12
The 6(b) orders included a targeted set of requests with the goal of developing a baseline understanding of
the relationships between these CSPs and generative AI model developers. The orders sought non-public
information to advance the agency’s understanding of the potential impact of these partnerships on
generative AI model development.
The Commission has used its Section 6 authority for decades to better understand market practices like
these partnerships. 13 Section 6(b) empowers the Commission to require an entity to file “annual or special
... reports or answers in writing to specific questions” to provide information about the entity’s
“organization, business, conduct, practices, management, and relation to other corporations, partnerships,
and individuals.” 14 The Commission’s 6(b) authority enables it to conduct wide-ranging studies that do
not have a specific law enforcement purpose. Section 6(f) authorizes the Commission to “make public
from time to time” portions of the information that it obtains, where disclosure would serve the public
interest. 15
The Commission is publicly reporting information collected from the 6(b) study in a manner consistent
with Sections 6(f) and 21(d) of the FTC Act by aggregating or anonymizing as necessary to protect trade
secrets and confidential or privileged commercial or financial information.
While some agency 6(b) studies seek to understand relatively stable market practices, 16 the various
partnerships related to generative AI have continued to evolve and expand. Even in the short time since
the Commission launched this 6(b) study, new relationships between CSPs and AI companies have been
announced. 17
Given the rapidly changing generative AI landscape, staff adopted a targeted approach to this study,
carefully drafting the Special Orders to balance speed and timeliness with a desire to understand the
significance of these quickly moving partnerships. The Commission requested information on five narrow
specifications related to the partnerships between three major cloud service providers and two leading AI
model developers. The summary of the specifications from the agency’s press release 18 are as follows:
     1. Information regarding the agreements themselves and related documents that explain the strategic
        rationale of the investment/partnership;
     2. The practical implications of a specific partnership or investment, including decisions around new
        product releases, governance or oversight rights, and the topic of regular meetings;

12
   Chris Metinko, The Biggest Of The Big: AI Startups Raised Huge — These Were The Largest Deals Of 2023,
CRUNCHBASE NEWS (Dec. 21, 2023), https://news.crunchbase.com/ai/biggest-ai-startups-openai-msft-eoy-2023/.
13
   See e.g., Office of Policy Planning, Fed. Trade Comm’n, History of Section 6 Report-Writing at the Federal Trade
Commission (Apr. 1981), https://www.ftc.gov/reports/history-section-6-report-writing-federal-trade-commission.
14
   15 U.S.C. § 46(b); see also Fed. Trade Comm’n, A Brief Overview of the Federal Trade Commission's
Investigative, Law Enforcement, and Rulemaking Authority (May 2021), https://www.ftc.gov/about-
ftc/mission/enforcement-authority.
15
   15 U.S.C. § 46(f).
16
   The Commission’s tobacco 6(b) studies, for example, have spanned decades.
17
   For instance, Amazon invested an additional $4 billion in Anthropic in November 2024 and announced that AWS
would be Anthropic’s “primary training partner” (in addition to its “primary cloud provider”) and that Anthropic
would be using Amazon’s Trainium and Inferentia chips “to train and deploy its future foundation models.” See
Amazon Staff, supra note 9; see also deals involving Inflection (with Microsoft), Character.ai (with Google), Adept
(with Amazon), and Mistral (with Microsoft).
18
   Fed. Trade Comm’n, supra note 11.
                                                         5
     Case 4:24-cv-04722-YGR                 Document 98-3           Filed 01/20/25         Page 10 of 48



    3. Analysis of the transactions’ competitive impact, including information related to market share,
       competition, competitors, markets, potential for sales growth, or expansion into product or
       geographic markets;
    4. Competition for AI inputs and resources, including the competitive dynamics regarding key
       products and services needed for generative AI; and
    5. Information provided to any other government entity, including foreign government entities, in
       connection with any investigation, request for information, or other inquiry related to these topics.
The full order specifications can be found in Appendix A.
2.3 - Technology Acquisitions and Partnerships
Parts of the CSPs’ current strategies have their roots in past acquisitions. For example, Google’s 2014
acquisition of DeepMind for reportedly over $500 million contributed to Google’s AI efforts today. 19
DeepMind’s former CEO, Demis Hassabis, is now the CEO of Google DeepMind. 20 Google’s flagship
generative AI models, the Gemini family of models, are built by this team. 21 Similarly, Amazon made an
important acquisition in 2015, purchasing Annapurna Labs for a reported $370 million. 22 Annapurna Labs
designs custom chips for Amazon, including those designed specifically for training and deploying AI
models. 23 These custom chips are an essential part of Amazon’s cloud and AI strategies—Amazon has
even gone so far as to describe Annapurna as “the ‘secret sauce’ behind AWS’s success.” 24
The Hart-Scott-Rodino (“HSR”) Act, 25 which amended the Clayton Act in 1976, requires companies to
file premerger notifications with the Federal Trade Commission and the Antitrust Division of the Justice
Department for certain large mergers and acquisitions before they occur. 26 That premerger notification
process involves completing an HSR Form, also called a “Notification and Report Form for Certain
Mergers and Acquisitions,” with information about each company’s business. 27
In 2021, the FTC published a report that focused on nearly a decade of unreported acquisitions by the
biggest technology companies—i.e., Alphabet/Google, Amazon, Apple, Facebook, and Microsoft. 28 The


19
   Catherine Shu, Google Acquires Artificial Intelligence Startup DeepMind for More Than $500M, TECHCRUNCH
(Jan. 26, 2014), https://techcrunch.com/2014/01/26/google-deepmind/.
20
   Sundar Pichai and Demis Hassabis, Our next-generation model: Gemini 1.5, GOOGLE (Feb. 15, 2024),
https://blog.google/technology/ai/google-gemini-next-generation-model-february-2024/.
21
   Id.
22
   Amazon to buy Israeli start-up Annapurna Labs, REUTERS (Jan. 22, 2015),
https://www.reuters.com/article/technology/amazon-to-buy-israeli-start-up-annapurna-labs-idUSKBN0KV0SG/.
23
   How silicon innovation became the ‘secret sauce’ behind AWS’s success, AMAZON (July 27, 2022),
https://www.amazon.science/how-silicon-innovation-became-the-secret-sauce-behind-awss-success (“Those
products, and silicon innovations, have done a lot of talking since 2015, as the acquisition has led to, among other
advancements, the development of five generations of the AWS Nitro System, three generations (1, 2, 3) of custom-
designed, Arm-based Graviton processors that support data-intensive workloads, as well as AWS Trainium, and
AWS Inferentia chips optimized for machine learning training and inference.”) (emphasis added).
24
   Id.
25
   15 U.S.C. § 18a; see also Fed. Trade Comm’n, Hart-Scott-Rodino Antitrust Improvements Act of 1976,
https://www.ftc.gov/legal-library/browse/statutes/hart-scott-rodino-antitrust-improvements-act-1976.
26
   Fed. Trade Comm’n, Premerger Notification Program, https://www.ftc.gov/enforcement/premerger-notification-
program.
27
   Id.
28
   Press Release, Fed. Trade Comm’n, FTC Staff Presents Report on Nearly a Decade of Unreported Acquisitions by
the Biggest Technology Companies (Sept. 15, 2021), https://www.ftc.gov/news-events/news/press-
releases/2021/09/ftc-staff-presents-report-nearly-decade-unreported-acquisitions-biggest-technology-companies.
                                                         6
     Case 4:24-cv-04722-YGR                 Document 98-3           Filed 01/20/25         Page 11 of 48



inquiry was initiated under Chair Joe Simons in 2020, 29 and the resulting report made public by the
Commission with a 5-0 vote. 30 Upon its publication, Chair Lina Khan remarked how this study
underscores the “need for us to closely examine reporting requirements ... and to identify areas where the
FTC may have created loopholes that are unjustifiably enabling deals to fly under the radar.” 31 According
to Commissioner Rebecca Slaughter, this study “[helped the Commission] understand the bigger picture
patterns among the largest tech platforms” with regards to acquisitions that did not require ex-ante
review. 32 The study found that the five companies had completed 616 non-HSR reportable transactions—
94 exceeded the HSR “Size of Transaction” threshold, and 65 percent were between $1 million and $25
million. 33 Other notable findings include that less than two-thirds of the non-reported transactions
involved the acquisition of domestic assets or firms and more than 75 percent of transactions included
non-compete clauses for founders and key employees of the acquired entities. 34 Some of these findings
have overlap with some of the findings staff highlight in this report related to AI.
Amid these varying acquisition strategies undertaken by large technology firms and the development of
generative AI technology, new forms of agreements—AI partnerships—have emerged. The AI
partnerships that are subject of the present 6(b) study may represent a new strategy by large technology
firms seeking to form relationships with AI model developers and represent just one way that the largest
CSPs have responded to the generative AI boom. For example, there has recently been a rise in
agreements that reportedly include hiring a company’s AI experts, licensing the company’s AI
technology, and paying a fee in exchange. 35 In addition to licensing technologies and hiring numerous
employees, these deals have elevated former startup CEOs to some of the most important roles in AI at


29
   Press Release, Fed. Trade Comm’n, FTC to Examine Past Acquisitions by Large Technology Companies (Feb. 11,
2020), https://www.ftc.gov/news-events/news/press-releases/2020/02/ftc-examine-past-acquisitions-large-
technology-companies.
30
   Fed. Trade Comm’n, supra note 28.
31
   Remarks of Chair Lina M. Khan Regarding Non-HSR Reported Acquisitions by Select Technology Platforms
Commission File No. P201201 (Sept. 15, 2021),
https://www.ftc.gov/system/files/documents/public_statements/1596332/remarks_of_chair_lina_m_khan_regarding
_non-hsr_reported_acquisitions_by_select_technology_platforms.pdf; see also Fed. Trade Comm’n, Non-HSR
Reported Acquisitions by Select Technology Platforms, 2010- 2019: An FTC Study, at 20 (2021) (“[N]ine
additional transactions would have exceeded the HSR SOT threshold (i.e., in addition to the 94 transactions already
above the HSR SOT threshold) at the time of their consummation when adding the deferred or contingent
compensation (that is separate, and in addition to their purchase price) to their purchase price.”).
32
   Prepared Remarks of Commissioner Rebecca Kelly Slaughter Regarding Non-HSR Reported Acquisitions by
Select Technology Platforms, 2010-2019: An FTC Study (Sept. 15, 2021),
https://www.ftc.gov/system/files/documents/public_statements/1596324/rks_statement_on_tech_6b_91521.pdf.
33
   See Fed. Trade Comm’n, supra note 31, at 13. Transactions that exceed the size threshold must be reported unless
certain other criteria are not met or statutory or regulatory exemptions apply.
34
   Id. at 16, 21; see also Fed. Trade Comm’n, supra note 28.
35
   Erin Griffith & Cade Metz, The New A.I. Deal: Buy Everything but the Company, NEW YORK TIMES (Aug. 8,
2024), https://www.nytimes.com/2024/08/08/technology/ai-start-ups-google-microsoft-amazon.html (“The deal was
one of several unusual transactions that have recently emerged in Silicon Valley. While big tech companies typically
buy start-ups outright, they have turned to a more complicated deal structure for young A.I. companies. It involves
licensing the technology and hiring the top employees — effectively swallowing the start-up and its main assets —
without becoming the owner of the firm.”); id. (describing Microsoft’s March 2024 deal with Inflection); Annie
Palmer, Amazon beefs up AI development, hiring execs from startup Adept and licensing its technology, CNBC (Jun.
28, 2024), https://www.cnbc.com/2024/06/28/amazon-hires-execs-from-ai-startup-adept-and-licenses-its-
technology.html (describing Amazon’s June 2024 deal with Adept); Kalley Huang, Natasha Mascarenhas, &
Stephanie Palazzolo, Google Hires Character.AI Cofounders and Licenses Its Models, THE INFORMATION (Aug. 2,
2024), https://www.theinformation.com/articles/google-hires-character-ai-cofounders-and-licenses-its-models
(describing Google’s August 2024 deal with Character.AI).
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         Case 4:24-cv-04722-YGR               Document 98-3             Filed 01/20/25          Page 12 of 48



the CSPs—leading one venture capital (“VC”) firm to refer to these deals as “Big Tech consolidating AI
talent.” 36
Many of FTC’s international counterparts are also working to examine and better understand these
partnerships. The following are some examples of these efforts:

     x    In late 2023, the UK’s Competition and Market Authority (“CMA”) opened an invitation to
          comment—an initial information gathering step in advance of the launch of any formal
          investigation—into the partnership between Microsoft and OpenAI. 37
     x    In January of 2024, the European Commission announced that it is looking into agreements
          between “large digital market players and generative AI developers and providers” and
          specifically whether “Microsoft’s investment in OpenAI might be reviewable under EU Merger
          Regulation.” 38
     x    In February of 2024, the French Competition Authority opened inquiries ex officio to analyze the
          generative AI market and “examine these types of investments” such as Microsoft’s investment
          into OpenAI and Amazon and Google’s investments into Anthropic. 39
     x    Most recently, the CMA launched a merger inquiry regarding Microsoft’s transaction with
          Inflection AI in July 2024, 40 an investigation of Amazon’s partnership with Anthropic in
          August, 41 and an investigation into the Google-Anthropic partnership in October. 42 The CMA has
          since closed these investigations. 43

3. The AI Technology Stack
As with all complex software products, AI development and commercialization combine several different
layers into a composite product or service. The partnerships at the center of the 6(b) study involve
collaboration and exchange across these layers of the tech stack, from chip development to deployment of
AI-powered applications. Therefore, to understand the partnerships at hand it is essential to understand
these layers and how they function.
This section explains the following layers of the tech stack that CSPs and AI model developers contribute
to, depend on, and benefit from: AI Semiconductor Chips, Cloud Computing, Data and Models, and AI



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   AI eating software, ACCEL (2024) at 32, https://cdn.prod.website-
files.com/6643a08d305ab77f8c7566b6/670f22a19ea69a94f9710c1a_16%20October%20-
%20Accel%202024%20Euroscape.pdf.
37
   Press Release, CMA, CMA seeks views on Microsoft’s partnership with OpenAI (Dec. 8, 2023),
https://www.gov.uk/government/news/cma-seeks-views-on-microsofts-partnership-with-openai.
38
   Press Release, European Commission, Commission launches calls for contributions on competition in virtual
worlds and generative AI (Jan. 8, 2024), https://ec.europa.eu/commission/presscorner/detail/en/ip_24_85.
39
   Press Release, Autorité de la Concurrence, Generative artificial intelligence: the Autorité starts inquiries ex officio
and launches a public consultation open until Friday, 22 March (Feb. 8, 2024),
https://www.autoritedelaconcurrence.fr/en/press-release/generative-artificial-intelligence-autorite-starts-inquiries-
ex-officio-and-launches.
40
   Microsoft / Inflection inquiry, CMA (Apr. 24, 2024), https://www.gov.uk/cma-cases/microsoft-slash-inflection-ai-
inquiry.
41
   Amazon / Anthropic partnership merger inquiry, CMA (Apr. 24, 2024), https://www.gov.uk/cma-cases/amazon-
slash-anthropic-partnership-merger-inquiry.
42
   Alphabet Inc. (Google LLC) / Anthropic merger inquiry, CMA (July 30, 2024), https://www.gov.uk/cma-
cases/alphabet-inc-google-llc-slash-anthropic-merger-inquiry.
43
   Id. See also CMA, supra note 40; CMA supra note 41.
                                                            8
     Case 4:24-cv-04722-YGR                 Document 98-3           Filed 01/20/25         Page 13 of 48



Applications. The FTC has referred to this framework previously in its Technology Summit on AI. 44
While not exhaustive, this framework is meant to be illustrative of different technologies that are part of
the development, deployment, and use of AI.

3.1 - AI Semiconductor Chips
Semiconductor chips are the hardware foundation for the digital world. They sit at the base of the
technology stack, providing the computational resources to build and deploy other hardware and software
applications. 45
Specialized AI chips are used in training a large generative AI model. 46 After a model has been trained,
specialized AI chips are then used to generate responses or other outputs in response to prompts—a
process known as “inference.” 47
Specially designed chips for AI are therefore a key input into AI model training and deployment. In
notable contrast to “general purpose” chips such as central processing units (“CPUs”), AI chips 48 are
optimized for performing a large volume of parallel calculations, such as the ones required for training
and inference. 49 AI chips include graphical processing units (“GPUs”), which were originally built for
computer graphics processing but are now heavily used by AI developers; 50 and other chips designed
specifically for training or running AI, such as Google’s Tensor Processing Units (“TPUs”). 51
The CSP respondents in this study are each developing specialized chips for AI applications. 52 For
example, Amazon designs chips for AI models via its Trainium and Inferentia series of chips; 53 Google
has its TPUs; 54 and Microsoft is developing AI chips called Maia 100. 55 In contrast to GPUs designed by


44
   Fed. Trade Comm’n, FTC Tech Summit (Jan. 2024), https://www.ftc.gov/news-events/events/2024/01/ftc-tech-
summit.
45
   Jake Siegel, With a systems approach to chips, Microsoft aims to tailor everything ‘from silicon to service’ to
meet AI demand, MICROSOFT (Nov. 15, 2023), https://news.microsoft.com/source/features/ai/in-house-chips-silicon-
to-service-to-meet-ai-demand/ (“Chips are the workhorses of the cloud. They command billions of transistors that
process the vast streams of ones and zeros flowing through datacenters. That work ultimately allows you to do just
about everything on your screen, from sending an email to generating an image in Bing with a simple sentence.”).
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   Saif M. Khan, AI Chips: What They Are and Why They Matter, CSET (Apr. 2020),
https://cset.georgetown.edu/publication/ai-chips-what-they-are-and-why-they-matter/ (“Different types of AI chips
are useful for different tasks. GPUs are most often used for initially developing and refining AI algorithms; this
process is known as ‘training.’”).
47
   Kim Martineau, What Is AI Inferencing?, IBM (Oct. 5, 2023), https://research.ibm.com/blog/AI-inference-
explained (“Inference is the process of running live data through a trained AI model to make a prediction or solve a
task.”).
48
   As used herein “AI chips” means chips with the capability to be used for AI training and inference and dedicated
to AI usage. Certain AI chips, such as GPUs, may be used for other tasks.
49
   Andrew Lohn & Micah Musser, AI and Compute, CSET (Jan. 2022), https://cset.georgetown.edu/publication/ai-
and-compute/.
50
   What is a GPU?, AWS, https://aws.amazon.com/what-is/gpu/.
51
   Introduction to Cloud TPU, GOOGLE CLOUD (Nov. 21, 2024), https://cloud.google.com/tpu/docs/intro-to-tpu.
52
   See, e.g., Max. A. Cherney, Amazon racing to develop AI chips cheaper, faster than Nvidia’s, executives say,
REUTERS (July 25, 2024), https://www.reuters.com/technology/artificial-intelligence/amazon-racing-develop-ai-
chips-cheaper-faster-than-nvidias-executives-say-2024-07-25/.
53
   AWS Tranium, AWS, https://aws.amazon.com/machine-learning/trainium/; AWS Inferentia, AWS,
https://aws.amazon.com/machine-learning/inferentia/.
54
   GOOGLE CLOUD, supra note 51.
55
   Borkar et al., $]XUH0DLDIRUWKHHUDRI$,)URPVLOLFRQWRVRIWZDUHࣟWRV\VWHPV, MICROSOFT (Apr. 3, 2024),
https://azure.microsoft.com/en-us/blog/azure-maia-for-the-era-of-ai-from-silicon-to-software-to-systems/.
                                                         9
     Case 4:24-cv-04722-YGR                 Document 98-3            Filed 01/20/25         Page 14 of 48



other providers such as AMD and Nvidia, the physical AI chips designed by Amazon, Microsoft, and
Google are not available to purchase—they are only available to access via those CSPs. 56
Software to interact with AI chips is another essential part of the equation. To use AI chips, AI developers
must rely upon software that is able to integrate with those chips. That software is not necessarily
compatible with different types of AI chips. For example, Nvidia’s software platform, CUDA, is
compatible only with Nvidia chips. 57 CUDA is widely used, with Nvidia estimating that four million
developers were using it as of May 2023. 58 Additionally, there are other software platforms for chips,
including technology called OneAPI that was first developed by Intel 59 and an open-source project called
Triton, first released by OpenAI in July of 2021. 60
Chip fabrication and design are separate processes. Large chip designers like Nvidia and AMD outsource
their chip manufacturing to companies like Taiwan Semiconductor Manufacturing Co. (“TSMC”). 61

3.2 - Cloud Computing
Cloud computing—often referred to as “cloud”—is defined by the National Institute of Standards and
Technology as “a model for enabling ubiquitous, convenient, on-demand network access to a shared pool
of configurable computing resources (e.g., networks, servers, storage, applications, and services) that can
be rapidly provisioned and released with minimal management effort or service provider interaction.” 62
Companies across the economy use CSPs to access the servers, databases, networking, and other services
needed to build and run their products and internal tools. These resources are generally available on-
demand and can rapidly scale to meet the needs of a developer, 63 allowing for technical architecture and
physical resources that may take months to build and provision on traditional or non-cloud infrastructure
to be assembled in a matter of seconds in the cloud. 64




56
   Matthew S. Smith, Challengers Are Coming for Nvidia’s Crown, IEEE Spectrum (Sept. 16, 2024),
https://spectrum.ieee.org/nvidia-ai (“None of these compete directly with Nvidia, as hyperscalers don’t sell hardware
to customers. But they do sell access to their hardware through cloud services, like Google’s AI Hypercomputer,
Amazon’s AWS, and Microsoft’s Azure.”).
57
   CUDA GPUs – Compute Capability, NVIDIA, https://developer.nvidia.com/cuda-gpus.
58
   Catherine Shu & Rita Liao, All the Nvidia news announced by Jensen Huang at Computex, TechCrunch (May 28,
2023), https://techcrunch.com/2023/05/28/nvidia-computex-jensen-huang/ (“Nvidia Cuda [sic] computing model
now serves four million developers and more than 3,000 applications. Cuda [sic] has seen 40 million downloads,
including 25 million just last year alone.”).
59
   OneAPI, INTEL, https://www.intel.com/content/www/us/en/developer/tools/oneapi/overview.html.
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   Introducing Triton: Open-source GPU programming for neural networks, OPENAI (July 28, 2021),
https://openai.com/index/triton/.
61
   Nvidia CEO Reiterates Solid Partnership with TSMC, PR NEWSWIRE (March 22, 2024),
https://www.prnewswire.com/news-releases/nvidia-ceo-reiterates-solid-partnership-with-tsmc-302096782.html;
AMD, TSMC to produce new chips, TAIPEI TIMES (June 4, 2024),
https://www.taipeitimes.com/News/front/archives/2024/06/04/2003818833.
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   Peter Mell & Timothy Grance, The NIST Definition of Cloud Computing, NAT. INST. OF STANDARDS AND
TECHNOLOGY (Sept. 2011), https://nvlpubs.nist.gov/nistpubs/Legacy/SP/nistspecialpublication800–145.pdf.
63
   Id. at 2 (listing “Essential Characteristics” including “On-demand self-service” and “Rapid elasticity”).
64
   The FTC Office of Technology, Fed. Trade Comm’n, An Inquiry into Cloud Computing Business Practices: The
Federal Trade Commission is seeking public comments, (Mar. 22, 2023), https://www.ftc.gov/policy/advocacy-
research/tech-at-ftc/2023/03/inquiry-cloud-computing-business-practices-federal-trade-commission-seeking-public-
comments.
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     Case 4:24-cv-04722-YGR                Document 98-3            Filed 01/20/25        Page 15 of 48



Many sectors of the economy rely on CSPs, which therefore gives CSPs the potential for widespread
impact. 65 For example, transportation, 66 financial systems, 67 and healthcare systems 68 all use CSPs to
manage their infrastructure. Startups, across a range of sectors, are especially reliant on CSPs. 69
Three of this study’s respondents offer cloud services—Microsoft’s Azure, Amazon’s Amazon Web
Services (“AWS”), and Alphabet’s Google Cloud Platform (“GCP”).
In the context of AI models, cloud providers’ most relevant offering may be access to a large volume of
servers with specialized AI chips that can be used to train and deploy models. The high demand for
servers with AI chips has reportedly led to months-long waits for some AI developers for access to this
type of hardware. 70

However, the provision of cloud services for AI consists of more than just obtaining servers with
specialized chips. It also requires data centers to house those chips, networking to connect them, cooling
systems to handle the enormous amount of heat generated by them, and more.

Data centers, connected by intricate networks, form the core of cloud offerings. CSPs house their servers
and other hardware in physical data centers located all around the world. Data centers are “complex
infrastructure projects” that “require a lot of people and it’s not just the servers that go into them, but also
the construction effort, the planning, the sustainable siting of the land, the permitting and renovating,”
according to Microsoft’s director of Azure global infrastructure, Alistair Speirs. 71
Given the amount of data that is used to train and operate AI models, specialized networking needs to be
installed through physical data centers to facilitate sending the massive amounts of data between servers.
In particular, the widespread practice among large AI developers of parallelizing computations among
multiple chips and quickly communicating the results of such computations between chips can mean that
data center infrastructure is often specialized for AI needs. 72 Similarly, high-volume data transfers
inherent to AI training and inference can require significant networking between data centers—an issue
that was discussed in at least one partnership, according to internal documents. 73 AI applications also
require substantial amounts of power.


65
   Id.
66
   See, e.g., Parsons’ Intelligent Traffic Solution Built on AWS Helps Cities Reduce Congestion and Cut Costs,
AWS, https://aws.amazon.com/partners/success/parsons/.
67
   Press Release, U.S. Dept. of the Treas., Treasury and the Financial Services Sector Coordinating Council Publish
New Resources on Effective Practices for Secure Cloud Adoption (July 17, 2024),
https://home.treasury.gov/news/press-releases/jy2467.
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   U.S. Dept. of Health and Human Services, Guidance on HIPAA & Cloud Computing (Dec. 23, 2022),
https://www.hhs.gov/hipaa/for-professionals/special-topics/health-information-technology/cloud-
computing/index.html.
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   See, e.g., Engine’s Comments on the Business Practices of Cloud Computing Providers, Docket FTC-2023-0028,
https://www.regulations.gov/comment/FTC-2023-0028-0056 (“Unsurprisingly, cloud technologies were among the
most widely used. For example, no startup captured by the survey was using its own hosting infrastructure.”).
70
   Aaron Holmes & Anissa Gardizy, AI Developers Stymied by Server Shortage at AWS, Microsoft, Google, THE
INFORMATION (Apr. 7, 2023), https://www.theinformation.com/articles/ai-developers-stymied-by-server-shortage-at-
aws-microsoft-google?rc=lwb9yo.
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   Matt Ashare, Microsoft, playing the long game, invests billions globally to expand Azure empire, CIO DIVE (June
10, 2024), https://www.ciodive.com/news/microsoft-cloud-azure-data-center-investments-generative-ai/717897/.
72
   See, e.g., descriptions of the specialized networking components in supercomputers for each supercomputer
profile listed here under “interconnect” here: TOP 500 (June 2024), https://www.top500.org/lists/top500/2024/06/.
73
   Respondent Document Submission
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      Case 4:24-cv-04722-YGR                  Document 98-3            Filed 01/20/25          Page 16 of 48



Offering cloud services related to AI training and inference is an expensive, capital-intensive business, as
evidenced by billions of dollars in spending from Microsoft, Amazon, and Alphabet in recent years. In Q4
of fiscal year 2024, Microsoft CFO Amy Hood stated that Microsoft’s capital expenditures reached $19
billion for the quarter, with “Cloud and AI related spend represent[ing] nearly all of total capital
expenditures” spread across building data centers, leasing data centers, and purchasing servers. 74
Likewise, AWS announced its capital expenditures reached $30.5 billion in the first half of 2024 and
expects to spend more in the second half of 2024, the majority of which “will be to support the growing
need for AWS infrastructure,” particularly due to the “strong demand in both generative AI and our non-
generative AI workloads.” 75 Additionally, Alphabet announced in its Q2 2024 earnings call that its capital
expenditures for the quarter were $13 billion, “driven overwhelmingly by investment in our technical
infrastructure, with the largest component for servers, followed by data centers.” 76

3.3 - Data and Models
Generally, AI developers aim to build foundation models that are fast 77 and produce high quality
responses while reducing harm and errors. 78 Developers may also require their model to function with
text, audio, images, and to some extent video as input or output, the latter of which significantly increases
computational intensity of the models. 79
In order to achieve high levels of performance, AI developer partners need an extensive amount of
computational power. Anthropic CEO Dario Amodei publicly stated in April of 2024 that then-current
models cost close to $1 billion to train, and that “in 2025 and 2026, we’ll get more towards $5 or $10
billion.” 80 Having access to this amount of computational power may impact AI model development. As
one CSP partner explained, “we have entered an AI training regime where the quality of results
achievable across a broad range of AI tasks is mostly constrained by the amount of AI training computing
resources that can be brought to bear on the training task.” 81




74
   Satya Nadella & Amy Hood, Microsoft Fiscal Year 2024 Fourth Quarter Earnings Conference Call, MICROSOFT
(July 30, 2024), https://www.microsoft.com/en-us/Investor/events/FY-2024/earnings-fy-2024-q4.aspx (“Capital
expenditures including finance leases were $19 billion, in line with expectations, and cash paid for P, P, and E was
$13.9 billion. Cloud and AI related spend represents nearly all of total capital expenditures. Within that, roughly half
is for infrastructure needs where we continue to build and lease datacenters that will support monetization over the
next 15 years and beyond. The remaining cloud and AI related spend is primarily for servers, both CPUs and GPUs,
to serve customers based on demand signals. For the full fiscal year, the mix of our cloud and AI related spend was
similar to Q4.”).
75
   Georgia Butler, AWS revenue hits $26.3bn for Q2 2024, Amazon capex reaches $30.5bn, DATA CENTER
DYNAMICS (August 2, 2024), https://www.datacenterdynamics.com/en/news/aws-revenue-hits-263bn-for-q2-2024-
amazon-capex-reaches-305bn/.
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   2024 Q2 Earnings Call, ALPHABET, https://abc.xyz/2024-q2-earnings-call/.
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   Wei-Lin Chiang et al., Chatbot Arena: An Open Platform for Evaluating LLMs by Human Preference, ARXIV E-
PRINTS (Mar. 7, 2024), https://arxiv.org/abs/2403.04132.
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   Hello GPT-4o, OPENAI (May 13, 2024), https://openai.com/index/hello-gpt-4o/.
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   Transcript: Ezra Klein Interviews Dario Amodei, NEW YORK TIMES (April 12, 2024),
https://www.nytimes.com/2024/04/12/podcasts/transcript-ezra-klein-interviews-dario-amodei.html (“The models
that are in training now and that will come out at various times later this year or early next year are closer in cost to
$1 billion. So that’s already happening. And then I think in 2025 and 2026, we’ll get more towards $5 or $10
billion.”).
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   Respondent Document Submission
                                                           12
     Case 4:24-cv-04722-YGR                Document 98-3           Filed 01/20/25        Page 17 of 48



In addition to this computational power, training data is also a key input when creating a generative AI
model. Generative AI models are trained on massive amounts of information. Training data can be split
up into roughly two types of data—data for pretraining and data for “fine-tuning” the model. 82

Pretraining data consists of enormous datasets of examples of content. For example, Meta’s Llama 3 is an
example of a text-based generative AI model, also known as a large language model (“LLM”). Llama 3
was trained on “over 15 [trillion] tokens.”83 As a rule of thumb, one token is roughly ¾ of a word,
according to OpenAI. 84 Thus, 15 trillion tokens is equivalent to roughly 11.25 trillion words, or roughly
112 million novels. 85
Gathering, cleaning, and preparing this information is a major undertaking that may require its own
research and development and may also be expensive, depending on the data sources. Commonly reported
sources of pretraining data include data that has been scraped, 86 licensed from rightsholders, 87 or obtained
from pre-existing services of the generative AI model developer that collect the data type in question
(e.g., photos and text from public posts on Facebook and Instagram). 88

Fine-tuning data is used to create models that are better “aligned” with human preferences. One example
of fine-tuning is a technique known as reinforcement learning from human feedback (“RLHF”), 89 in
which humans rank a set of outputs from a model. Chatbots that are built on top of large language models
may implement RLHF in order to better “align” a chatbot’s responses. 90 Because the data collected via
ranking feedback is done by humans, gathering this data is labor-intensive and often outsourced through




82
   AI Foundation Models Initial Report, CMA (Sept. 18, 2023) at 11-12,
https://assets.publishing.service.gov.uk/media/650449e86771b90014fdab4c/Full_Non-
Confidential_Report_PDFA.pdf.
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   Introducing Meta Llama 3: The most capable openly available LLM to date, META (Apr. 18, 2024),
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   This is a rough estimate using a novel length of 100,000 words. What’s the perfect length for a book? PENGUIN
BOOKS LTD. (Sept. 23, 2020), https://www.penguin.co.uk/articles/2020/09/book-length-debate-fiction-long-novels.
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being-used-to-train-generative-ai-models/.
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2024), https://www.cbinsights.com/research/ai-content-licensing-deals/.
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   Mike Clark, Privacy Matters: Meta’s Generative AI Features, META (Sept. 27, 2023),
https://about.fb.com/news/2023/09/privacy-matters-metas-generative-ai-features/ (“Publicly shared posts from
Instagram and Facebook—including photos and text—were part of the data used to train the generative AI models
underlying the features we announced at Connect.”).
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   See, e.g., Daniel M. Ziegler et al., Fine-Tuning Language Models from Human Preferences, ARXIV E-PRINTS (Jan.
8, 2020), https://arxiv.org/abs/1909.08593.
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   See, e.g., Zhiqing Sun et al., Aligning Large Multimodal Models with Factually Augmented RLHF, ARXIV E-
PRINTS (Sept. 25, 2023), https://arxiv.org/abs/2309.14525.

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     Case 4:24-cv-04722-YGR                 Document 98-3           Filed 01/20/25         Page 18 of 48



dedicated contractors. 91 Furthermore, a large and more diverse amount of this human ranking data may be
required in order to improve language model performance. 92
AI developers are often looking for new sources of training data, particularly now that a large portion of
the publicly available internet data has already been used to train models. 93 Publicly available data may
increasingly consist of AI-generated content, and training AI models on content generated by models may
have negative consequences on model quality. 94 Therefore, model developers may put a premium on
high-quality human-generated content. Owners of large platforms that host user-generated content have
access to that data and may use that data to train models. 95
The public availability and transparency of an AI model’s code and weights may vary. The term “open-
weights [foundation] models” is generally used to describe generative AI models where the code to run
the model and the “weights” (i.e., the billions or trillions of numbers that determine an AI model’s
outputs) are made available to download to the public for free. The FTC has previously discussed open-
weights foundation models. 96 As of the writing of this report, none of the respondents’ flagship models
are open-weights foundation models. 97
As FTC staff has stated previously, “while open-source software (OSS) is well-defined, there is still an
active dialogue around what ‘open’ and ‘open-source’ should mean in the emerging context of AI
models—and it is important to understand the range of definitions when assessing the potential
impacts.” 98 Openness of models is a spectrum, which includes at a minimum the availability of model
weights but can also include availability of the code used to train the model, descriptions of, or complete
availability of, training and fine-tuning data, and legal restrictions or lack thereof on use, modification,
and redistribution. 99 By contrast, “closed models” are models that are only available from companies
through their products and services—such as an application programming interface (“API”) 100—and not


91
   See, e.g., Evaluation, SCALE AI (2024), https://scale.com/evaluation/model-developers. Staff note that non-
generative AI models, too, can be highly dependent on labelling labor. See, e.g., Todd Bishop, How this startup used
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   Ilia Shumailov et al., AI models collapse when trained on recursively generated data, NATURE VOL. 631, (2024),
https://www.nature.com/articles/s41586-024-07566-y.
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   FTC Staff in the Office of Technology and the Division of Privacy and Identity Protection, Fed. Trade Comm’n,
AI (and other) Companies: Quietly Changing Your Terms of Service Could Be Unfair or Deceptive (Feb. 13, 2024),
https://www.ftc.gov/policy/advocacy-research/tech-at-ftc/2024/02/ai-other-companies-quietly-changing-your-terms-
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99
   See, e.g., Irene Solaiman, The Gradient of Generative AI Release: Methods and Considerations, FACCT (2023),
https://dl.acm.org/doi/10.1145/3593013.3593981. Models which are neither fully closed nor fully open might be
dubbed “clopen” in reference to the use of this term for sets in point-set topology that are both closed and open.
100
    In other words, responses are accessible through “calls” to the provider’s servers. See, e.g., Application
Programming Interface (API), NIST COMPUTER SECURITY RESOURCE CENTER,
https://csrc.nist.gov/glossary/term/application_programming_interface.
                                                        14
      Case 4:24-cv-04722-YGR               Document 98-3            Filed 01/20/25         Page 19 of 48



through sharing the model weights. As staff has previously stated, the degree to which a model is “open”
can have implications for competition and consumer protection. 101

3.4 - AI Applications
Consumers interface with AI through a number of mediums, including mobile phones, gaming devices,
car driving and navigation systems, healthcare devices, and finance software tools. These interactions,
which are often enabled through text, voice, or imagery, generally take place within applications (“apps”).
These interfaces enable companies to either augment existing products and services with AI or offer
completely new products and services to consumers.

Some apps provide users access to interact directly with generative AI models. Examples include general-
purpose chatbots like ChatGPT 102 and image generation tools like Stable Diffusion. 103 These offerings
exist in desktop and mobile devices, in apps and through browsers.

Companies also integrate generative AI into existing products. Examples include Google integrating
responses in the form of “AI Overviews” into its search results page, 104 Amazon integrating a chatbot into
its shopping app, 105 Snap using OpenAI’s APIs to build its “My AI” feature, 106 and Microsoft integrating
large language models into its Microsoft 365 apps via its various “Copilot” offerings. 107 In addition to
consumer-facing products, businesses may integrate generative AI into their own internal tools. Examples
of this internal usage include summarization of internal documents 108 and code generation. 109 Finally,
generative AI may be used behind the scenes in ways that are opaque to end-users—such as in content
moderation systems on digital platforms. 110
AI developers may charge subscription fees to use their products. For standalone AI applications, some
companies rely on a paid subscription model. In addition to offering free tiers, some companies—
including OpenAI, Anthropic, and Midjourney—offer paid options that include additional capabilities,
early previews of new products, or higher limits on usage. 111


101
    Staff in the Office of Technology, supra note 96.
102
    ChatGPT, OPENAI, https://chatgpt.com/. The term chatbot here refers to a consumer-facing text- or voice-based
generative AI model that is meant to respond directly to user queries and is not limited to a single domain such as
customer service.
103
    Image Models, STABILITY.AI, https://stability.ai/stable-image.
104
    Liz Reid, Generative AI in Search: Let Google do the searching for you, GOOGLE (May 14, 2024),
https://blog.google/products/search/generative-ai-google-search-may-2024/.
105
    Rajiv Mehta, How customers are making more informed shopping decisions with Rufus, Amazon’s generative AI-
powered shopping assistant, AMAZON (Sept. 18, 2024), https://www.aboutamazon.com/news/retail/how-to-use-
amazon-rufus.
106
    Staying Safe with My AI, SNAPCHAT SUPPORT, https://help.snapchat.com/hc/en-us/articles/13889139811860-
Staying-Safe-with-My-AI.
107
    Microsoft 365 Copilot, MICROSOFT ADOPTION (2024), https://adoption.microsoft.com/en-us/copilot/.
108
    Jump Start Solution: Generative AI document summarization, GOOGLE CLOUD (July 21, 2023),
https://cloud.google.com/architecture/ai-ml/generative-ai-document-summarization.
109
    Juyong Jiang et al., A Survey on Large Language Models for Code Generation, ARXIV E-PRINTS (Nov. 10, 2024),
https://arxiv.org/abs/2406.00515.
110
    Using GPT-4 for content moderation, OPENAI (August 15, 2023), https://openai.com/index/using-gpt-4-for-
content-moderation/.
111
    See, e.g., What is Claude Pro?, ANTHROPIC, https://support.anthropic.com/en/articles/8325606-what-is-claude-
pro; Introducing ChatGPT Plus, OPENAI (Feb. 1, 2023), https://openai.com/index/chatgpt-plus/; Subscription Plans,
MIDJOURNEY, https://docs.midjourney.com/docs/plans.
                                                        15
      Case 4:24-cv-04722-YGR               Document 98-3           Filed 01/20/25         Page 20 of 48



AI developers may offer API access or license the use of their models to other companies. For example,
AI models can be incorporated via a licensing agreement into search engines, 112 software development
tools, 113 and cloud offerings. 114 For API usage, companies using the AI models may pay based on how
much data they send or receive back from the API, and the usage of the data that is sent to the AI service
provider may be governed by the AI provider’s policies and any business agreements. 115

Alternatively, an application may be built on a cloud that provides access to AI models as one of its
offerings, an option that some cloud providers describe as providing more flexibility and security. 116 All
three CSP respondents offer these “Model-as-a-Service” (“MaaS”) products, where customers can access
a range of models via the CSP’s platform: Amazon offers Bedrock, 117 Microsoft offers Azure AI Model
Catalog, 118 and Google offers Vertex AI. 119 Developers who want to integrate AI into their product or
service without having to train an AI model themselves often turn to MaaS offerings for access to such
models. For example, DoorDash uses Bedrock to access AI models that power its voice AI assistant. 120

Consumer-facing AI products may be monetized by displaying advertising in their interfaces. For
example, Google’s AI Overview product, powered by its Gemini LLM, recently started showing ads
related to a user’s query. 121 Similarly, Microsoft started including ads in its Bing Chat (later rebranded to
“Copilot”) interface in November of 2023. 122

4. Key Terms of the AI Partnerships
This section describes key terms of the AI partnerships as observed in the 6(b) study, including: (1) equity
and revenue-sharing rights; (2) certain consultation, control, and exclusivity rights; (3) cloud spend
commitments; (4) sharing of key resources and information; and (5) the potential to expand current
products and scale new offerings. Access to non-public documents through the 6(b) study helped expand
staff’s understanding of the partnerships and their exact terms, beyond what had been reported publicly.



112
    Your Everyday AI Companion | Microsoft Copilot, MICROSOFT, https://www.microsoft.com/en-
us/bing?ep=466&form=MA13P3&es=31.
113
    Your AI Pair Programmer, GITHUB COPILOT, https://github.com/features/copilot.
114
    Amazon Bedrock, AWS, https://aws.amazon.com/bedrock/.
115
    See, e.g., the pricing page of OpenAI’s API offering: Pricing, OPENAI, https://openai.com/api/pricing/.
116
    For example, Microsoft touts its offering of OpenAI models via Azure as providing “the security and enterprise
promise of Azure. … With Azure OpenAI, customers get the security capabilities of Microsoft Azure while running
the same models as OpenAI. Azure OpenAI offers private networking, regional availability, and responsible AI
content filtering.” What is Azure OpenAI Service?: Comparing Azure OpenAI and OpenAI, MICROSOFT (Nov. 5,
2024, https://learn.microsoft.com/en-us/azure/ai-services/openai/overview#comparing-azure-openai-and-openai.
117
    AWS, supra note 114.
118
    Azure AI Model Catalog, MICROSOFT, https://azure.microsoft.com/en-us/products/ai-model-catalog.
119
    Vertex AI Platform, GOOGLE CLOUD, https://cloud.google.com/vertex-ai?hl=en.
120
    Building a Generative AI Contact Center Solution for DoorDash Using Amazon Bedrock, Amazon Connect, and
Anthropic’s Claude, AWS (2024), https://aws.amazon.com/solutions/case-studies/doordash-bedrock-case-
study/?did=cr_card&trk=cr_card.
121
    Ron Amadeo, Next up in Google’s dramatic overhaul of search: AI Overview ads, ARS TECHNICA (May 23,
2024), https://arstechnica.com/gadgets/2024/05/next-up-in-googles-dramatic-overhaul-of-search-ai-overview-ads/.
122
    Kya Sainsbury-Carter, Transforming Search and Advertising with Generative AI, MICROSOFT (Sept. 21, 2023),
https://about.ads.microsoft.com/en/blog/post/september-2023/transforming-search-and-advertising-with-generative-
ai. Bing Chat was later rebranded to simply “Copilot.” See Tom Warren, Microsoft rebrands Bing Chat to Copilot,
to better compete with ChatGPT, THE VERGE (Nov. 15, 2023),
https://www.theverge.com/2023/11/15/23960517/microsoft-copilot-bing-chat-rebranding-chatgpt-ai.
                                                        16
      Case 4:24-cv-04722-YGR               Document 98-3           Filed 01/20/25         Page 21 of 48




4.1 - The partnerships provide CSP partners significant equity and certain revenue-
sharing rights in their AI developer partners.
As a result of the CSPs' ownership interests in, or lights to profits from, the AI developer partner, the
CSP partners might benefit financially if their AI developer partner's value increases. 123 Staff notes that
profit allocated to Microsoft by Ope1v\I is repo1tedly cunently capped at $92 billion. 124
Public repo1ting has indicated that both Amazon and Google have non-voting shares in Anthropic.125
Staff is cmTently not aware of a public disclosure regarding the nanrre of Microsoft's ownership in
OpenAI.
Public reporting has also posited that each of the partnerships contain revenue-shaling agreements that
provide income for CSPs based on the success of their partner's AI models, including sharing revenue
from the model developer partner's own first-pa1ty API. 126 Internal documents confinned that revenue
~ i p l e partnerships in various ways, including
- - - -127

The 6(b) documents reviewed by staff demonstrated that at least some respondents recognized that the
acquisition of the AI developer b its CSP aitner was a ossibili . 128 One res ondent, for exain le,
wrote in internal documents that

Other documents also indicated that some respondents were less receptive to a CSP acquiring its AI
developer partner. 130 AI developer pa1tners ai1d CSP pa1tners have also considered extending their
pa1tnerships with fmther funding.131




123 See, e.g. , Respondent Document Submission                                 for one company's discussion of
potential investment outcomes.
124 Our structure, OPENAI, https://openai.com/our-structnre/: Jessica Mathews and Jeremy Kahn, Inside the
Structure ofOpenAJ's looming new investment from Microsoft and VCs, FORTUNE (Jan. 11 , 2023),
https://forti.me.com/2023/0l/ l l /strncti.1re-openai-investment-111icrosoft/.
125 Billy Pell'igo, How Anthropic Designed Itself to Avoid OpenAI's Mistakes, TIME (May 30, 2024),
https://time.com/6983420/anthropic-stmcture-openai-incentives/.
126 Anissa Gardizy, Amazon Discussing New Multibillion-Dollar Investment in Anthropic, 1HE INFORMATION
(November 7, 2024), https ://,vv.rw. theinfonnation. com/a1ticles/amazon-discnssi.ng-new-muhibillion-dollar-
investment-in-a.nthropic; see also Anissa Gardizy et al., OpenAI Leaders Say Microsoft Isn't Moving Fast Enough to
Supply Se1vers, 1HE INFORMATION (Oct. 8, 2024), https://wv..rw.theinformation.com/articles/openai-eases-away-
from-microsoft-data-centers.
127 Res ondent Document Submission




 - Respondent Document Submission
130
   Res ondent Document Submission




                                                        17
     Case 4:24-cv-04722-YGR                Document 98-3           Filed 01/20/25        Page 22 of 48




4.2 - The partnerships provide CSP partners certain consultation, control, and
exclusivity rights with respect to their AI developer partners to varying degrees.
At least one partnership provides the opportunity for CSP executive leadership to consult with or advise
their artner com anies. 132 Internal documents described that one a1tnershi ave the CSP prutner input
                                                                                  133
on                                                                                    and at least one
pattners p a so gave t e CSP pa1tner a vance 110hce o unportant ec1s10ns. These rights may provide
a potential way for CSP pattners to influence the AI model developer partners. However, these rights vruy
in the extent to which they have been exercised and the potential they have for impacting the day-to-day
operations of AI developer pattners.
Control can also come in the fo1m of who is on the company's board of directors. Board members have
several key duties which vaiy from organization to organization, but generally include strategic oversight,
planning, budget approval and fundraising, legal compliance, and decision-making on significant
corporate chai1ges. 135
For example, Microsoft previously occupied an observer seat on the board of OpenAI. 136 While it
relinquished that seat in 2024, a company spokesperson also noted that Microsoft will continue to receive
information from OpenAI and that they will "host regular stakeholder meetings to share progress on our
mission ai1d ensure stronger collaboration across safety ai1d security." 137 In addition, one board member
se1ved on both Microsoft's and OpenAI's board contemporaneously for over three years. 138
CSP pa1tners also have ce1tain exclusivity or parity rights through the pa1tnerships- such as access to
ce1tain products, dist1ibution capabilities, or brand association.




    See, e.g., Kay Brancato et al., The Role of U.S. C01porate Boards in Ente1prise Risk Management, THE
CONFERENCE BOARD RESEARCH REPORT NO. R-1390-06-RR (Nov. 1, 2006), https://www.conference-
board.org/J,?ublications/publicationdetail.cfm?J,?ublicationid=l l90.
136 Foo Yun Chee, Microsoft ditches OpenAI board obse,ver seat to stave off antitrust scrutiny, REUTERS (July 10,

2024), https://www.reuters.com/teclmologv/microsoft-ditches-openai-board-observer-seat-amid-regulatorv-scrutiny-
2024-07-10/ .
137 Mauro 01111 and Christian Moess Laursen, Microsoft Quits OpenAJ's Board Amid Antitrust Scrutiny, WALL

STREET JOURNAL (July 10, 2024), https://www.wsj.com/tech/ai/microsoft-withdraws-from-openais-board-amid-
antitmst-scmtiny-aab6ffl e.
138 KifLeswing, Reid Hoffman steps down from OpenAI board to a11oid potential conjhcts of interest, CNBC (Mar.

3, 2023), https://www.cnbc.com/2023/03/03/reid-hoffman-stevs-down-from-ovenai-board-to-avoid-potential-
conflicts.html.

                                                       18
     Case 4:24-cv-04722-YGR              Document 98-3          Filed 01/20/25        Page 23 of 48



In some cases, the agreements include exclusive or preferential treatment to the CSP partner, 139 or require
parity with other cloud partners or the AI developer's own products. 140 Staff also notes that although the
existence of exclusivity, preference, or parity provisions varied by pa1tnership, in general, multiple
pa1tnerships have provisions that impose conditions or restrictions on the ability of AI developer pa1tners
to share accmed benefits with other 11011-prutner cloud providers or companies. 141
One CSP described the different ways in which its partnership could potentially provide parity as follows:
        "We've sought parity in multiple wai: Pari
                                                 ii   ofi
                                                        making the models and updates of the same
        available at the same time as they do              [core ask]. Parity on features and
        functionality i n c l u d ~ e a 11 , su 01t, tenns of se1vice, regional availability,
        etc. Parity on pricin. . . . . . . . vs              (they set the pricin . Pru·i on
        compensation for their sellers on sales on            as com ared to               ). Parity on
        mru·keting (promotion of-              as wit
In at least one case, a prutnership effectively required the AI developer pa1tner to keep the models on its
prutner's cloud se1vice at parity with the models on the AI developer's first-pa1ty APL 143 In other words,
the AI developer would not be able to release a new model on its own before launching it on its paitner's
cloud se1vice. Nor would the AI developer partner be able to offer substantially better models to business
or individual consumers as ru1 incentive to use its models through a first-pruty API rather than through its
paitner's cloud.
4.3 - The partnerships include cloud commitments that require AI developers to
spend a large portion of their CSP partner's investment on cloud services from their
partners.
According to public repo1ting sulillllru·ized in Table 2, the AI developer pa1tners committed to spend
billions of dollai·s on cloud se1vices from their partners. 144 The co1mnitted spending on cloud computing
meai1s that, to a significant extent, the CSP is effectively investing in the partnership through the
provision of cloud computing. This feature of the paitnerships-circular spending- is one avenue




                                                     19
        Case 4:24-cv-04722-YGR                  Document 98-3        Filed 01/20/25         Page 24 of 48




through which CSP partners may have potentially aimed to reduce the magnitude of potential loss
invested directly into their partners and cloud infrastrncture to se1ve their partners.
                                                      Table 2
                                   Summa1·y of Publicly Reported Spending Commitment $
               Cloud             Microsoft-             Amazon-Anthropic         Google-
               spending          OpenAI                                          Anthropic
               commitment
               by AI             "Billions" 145        At least $4 billion,      At least $3
               developer                               not including             billion 147
                                                       commit after latest
                                                       $4 billion
                                                       investment 146


AI developers' committed funds requirements varied by partnership, but funds can be spent on a range of
computational tasks needed by AI developers, including training or fine-tuning fOlmdation models;
inference, i.e. , computing responses to consumer prompts on the AI developers' own products or via CSP
model platfonns; or storage se1vices, such as sto1ing training data or prompts. 148
For Microsoft. and OpenAI specifically, according to publicly disclosed infonnation, OpenAI has been
using Microsoft as its "exclusive cloud provider" dating since the start of their partnership in 2019, which
was reaffinned in 2023. 149
At least one CSP order recipient claimed publicly that cloud spending commitments are separate from
investment deals, and explained, for example, that the decision to invest in its developer partner was made
by a separate team than the team negotiating any cloud spending commitment agreements. 150 However,
6(b) documents suggest that multiple respondents may view investments as linked to cloud spending
c01mnitments. 151 For example, in a list of strategic rationales for the partnership, one CSP listed first that
the paitnerships provided a "[l]arge [cloud se1vice] -               commit opportmiity." 152
One CSP noted that the cloud spend com1nitment had limited downside since any AI infrastrncture built
for its AI partner could be resold or used internally: "If-     cannot raise/generate more funds, we
145
    See Jin & Do tan, supra note 7.
146
    Id.; See also Amazon Staff, supra note 9.
147 Id.
148 Res onclent Document Submission




    Microsoft invests in and partners with OpenAI to support us building beneficial AG!, OPENAI (July 22, 2019),
https://openai.com/index/microsoft-invests-in-and-partners-with-openai/ ("We'll jointly develop new Azure AI
supercomputing technologies, and Microsoft will become our exclusive cloud provider-so we'll be working hard
together to fiu:ther extend Microsoft Azure's capabilities in large-scale AI systems."); Microsoft and OpenAI extend
partnership, MICROSOFT (Jan. 23, 2023),
https://blogs.microsoft.conlfblog/2023/01/23/microsoftandopenaiextendprut nership/ ("Exclusive cloud provider - As
OpenAI's exclusive cloud provider, Azure will power all OpenAI workloads across reseru·cl1, products and API
services.").
150
    See Jin & Dotan, supra note 7.
~ b m ission                                                      Respondent Document Submission-

      Respondent Document Submission

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      Case 4:24-cv-04722-YGR              Document 98-3           Filed 01/20/25        Page 25 of 48



will at least make back our [capital expendinire] byllllllllllllll, assuming
                  . h1 the improbable case of default~nake back our Capex an 1ave
          at an to resell to others or consume intemally." 153
4.4 - The partnerships pe1·mit the sharing of key resources ancl information.
The pattnerships provide the partners with access to key resources, including access to computing
resources, intellecnial property, key persom1el, perfonnance and financial data, training data, and chip co-
development opporninities to vaiying degrees. This section discusses each of these in nun.
4.4.1 - The partnerships provide AI developer partners, which require large amounts of
computing resources to train and operate their models, discounted access to computing
resources.
The pattnerships provide AI developer prutners with access to needed training and inference computing
resources to train and operate their models. As explained in Section 3.3 AI developer prutners need an
extensive amount of computational power to create and deploy their models.
At least one respondent indicated in internal docll1llents that it believes only a small number of players
can scale past the capabilities of current state-of-the-rut models, and that paitnerships between AI
developers and CSPs are an im 01tant wa for model develo ers to obtain enou h com utin resources to
kee ahead of the ack.




Staff notes that the CSPs considered here offer ce1tain discounts-such as committed use discounts-to
the public, as well as pdvate negotiated discounts to other customers. Some CSPs may publicly offer
committed use discounts for a range of se1vices, including data storage and specific resources needed to
train and deploy AI models. For example, Google publicly offers discounts on ce1tain GPU-based,
specialized AI offedngs in the United States of ru·ound 56% over three years. 155 Sepai·ately, one publicly
available industry guide suggests that a 6 percent discom1t is reasonable on a $1 million allllual collllnitted
spend on AWS. 156 The exact discount rates that CSPs offer via private negotiations and how the discounts
are calculated, however, is not public.
Documents provided by respondents indicated that some discounts provided by CSP pa1tners to their AI
pa1tners were significantly larger than ce1tain publicly adve1tised discom1ts. 157 However, because the
exact discount rates that CSPs offer outside of the pa1tnerships was not a subject of the study, it is uncleru·
how these rates compare to other privately negotiated discom1ts.
In some cases, provision of computing resomces to AI developer partners went beyond ftmding and
discOlmts. For instru1ce, the Microsoft ru1d OpenAI partnership specifically contains publicly disclosed

153
Respondent Document Submission
~ nt Submission                                                    Respondent Document Submission-

    See VM Instance Pricing, GOOGLE CLOUD, https://cloud.google.com/compute/vm-instance-
prici112#committed use. This is calculated based on a3-highgpu-lg instances in Iowa.
156
    Tony Chan, A WS EDP 2024 Negotiation Guide, CLOUDFORECAST.IO (May 24, 2024),
h s://www.cloudforecast.io/blo /aws-ed - 0 uide/.
157
    Res ondent Document Submission


                                                      21
      Case 4:24-cv-04722-YGR                  Document 98-3            Filed 01/20/25          Page 26 of 48



exclusivity, with Microsoft building a supercomputer "in collaboration with and exclusively for
OpenAI." 158 The supercomputer- "one of the top five publicly disclosed supercomputers in the world,"
and in 2020 "the largest supercomputer ever built in the public cloud" according to Microsoft-provides
OpenAI with exclusive access to this computing resource, at least dming the peiiod of exclusivity. 159
4.4.2 - The partnerships provide CSP partners, which are develo1>ing their own AI models,
access to assets and intellectual property related to the AI developers' cutting-edge models.
Documents illustrated that the prutnerships provided the CSP partners with significant access to assets, IP,
and reseru·ch developed by the AI developer partners or co-developed between the two parties. At least
one CSP viewed its partnership as a "bridge" to allow it to learn about frontier model development and to
become a significant player in the foundation model space itself. 160 In other documents, at least one CSP
saw its partnership as an alternative to internal model development effo1ts, with one CSP's executives
agreeing in a meeting that "double-spend[ing] in this [generative AI] space" did not make sense given the
CSP's investment in its AI developer paitner. 161
Generally, AI models themselves, training methods, and related source code are valuable intellectual
prope1ty owued by the AI developers. 162 It is therefore notable that multiple partnerships provided CSP
paitners access to some of these core technologies, with lights to test or commercialize them in ce1tain
cases.
The 6(b) documents also highlighted that the partnerships would give the CSP paitners direct access to
cutting-edge model specifications,163 development methodologies, and processes to test and deploy them
in practice. 164 In the early stages of one pa11nership, one CSP prutner noted that "potential collaborations -
~ o n" included sha1ing "pretraining algorithmic insights" and "paitner models available for
. . . . . research. " 165 Paitner CSPs may seek access to this infonnation to potentially help them


158 Jennifer Langston, Microsoft announces new supercomputer, lays out vision forfuture AI work, MICROSOFT

(May 19, 2020), https://news.microsoft.com/source/features/ai/openai-azure-supercomputer/ ("Built in collaboration
with and exclusively for OpenAI, the supercomputer hosied in Azw-e was designed specifically to train that
company's Al models.").
159 Id. ("Microsoft has built one of the top five publicly disclosed supercomputers in the world, making new

infrastructw-e available in Azure to train extremely large artificial intelligence models, the company is announcing at
its Build developers conference."): Zachary Cavanell, What runs ChatGPT? Inside Microsoft's AI supercomputer,
MICROSOFT MECHANICS BLOG (May 24, 202 3), https ://techconununitv.microsoft.com/t5/microsoft-mechanics-
blog/what-nms-chatgpt-inside-microsoft-s-ai-supercomputer-featuring/ba-p/383028 l ("By the way, that system that
we built back in 2020, was the fifth largest supercomputer in the world at the tin1e and the largest supercomputer
ever built in the public cloud. It's really the result of a collaborative effort between Microsoft engineering, Microsoft
Research, the OpenAI organization, and NVIDLI\." .
160
    Respondent Document Submission                                               ("To that end, we have b ~
strategic partnerships that would serve as a bridge until our own model is competitive with what wellllllllllllll
I will be.").
  1
    Respondent Document Submission
162 See, e.g. , Frontier Model Security, ANTil:ROPIC (July 25, 2023), https://www.anthropic.com/news/frontier-model-

securitv.
163
    Specifications refer to a set of descriptions and requirements for a software product. For an example of
specifications in the generative AI context, see, e.g. , Model Spec, OPENAI (May 8, 2024),
httµs://cdn.o enai.com/s ec/model-s ec-2024-05-08.html#overview.
164 See, e. .




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      Case 4:24-cv-04722-YGR                Document 98-3           Filed 01/20/25         Page 27 of 48



develop their own models and improve their internal products and services. For example, more efficient
model architectures can improve the cost-quality balance for LLMs. 166
As noted in public reporting, Microsoft CEO Satya Nadella remarked, "If OpenAI disappeared tomonow
... we have all of the rights to continue the innovation. Not just to serve the product, but we can go and
just do what we were doing in partnership ourselves. We have the people, we have the compute, we have
the data, we have everything." 167
4.4.3 - The partnerships may permit CSP and AI developer partners to embed engineers in
one another's companies, allowing for information transfer about technology and
intellectual property.
Because highly skilled labor is an important input for generative AI, CSPs appear to be using the
partnerships to gain access to relevant technical talent.
At least one partnership provided for the exchange of employees from one partner company to another-
as part of these exchanges, employees may embed within teams at the partner company, co-develop
products, and spend the majority of their time working with the partner company. 168 One respondent
described embedded employees as "the primary vehicle" for transferring information about IP arid
technology. 169
Another document submitted pursuant to this study described an interest in having senior employees,
including data scientists and engineers, working with the partner to speed up inference times, improve
fine-nming of models, support model training, resear·ch cutting-edge model ar·chitectures, and more. 170
Similarly, AI developer partners secured access to CSP partner technical support and engineering talent
on va1ious issues that ar·ise related to their CSP pa1tner's platfonns, which could make it easier to avoid
potentially disrnptive events such as server failures or common development speedbumps.
Due to the complexity of cutting-edge AI models, failures and incompatibilities can occur when they are
deployed by customers. 171 Documents produced by respondents indicate that developers required
technical suppo1t and met with their CSP partners on a regular· basis to "resolve issues that [were]




166 See, e.g., Canwen Xu & Julian McAuley, A Swvey on Model Compression and Acceleration for Pretrained

Language Models, ARXIVE-PRINTS (Nov. 29, 2022), htms://aixiv.org/abs/2202.07105 (for an explanation of
generative AI compression and acceleration effo1ts). Recent models that reflect advances in efficiency include GPT
4o-mini, Claude 3.5 Sonnet, and Gemini 1.5 flash. For benchmark examples, see Claude 3.5 Sonnet, ANTHROPIC
(June 20, 2024), htms://www.anthropic.com/news/claude-3-5-sonnet.
167 Intelligencer Staff, Satya Nadel/a on Hiring the Most Powe,ful Man in AI, INTELLIGENCER (Nov. 21 , 2023),

h s://nvmae:.com/intellie:encer/2023/1l /on-with-kara-swisher-satva-nadella-on-hirin°-sam-altman.html.
168
    Res ondent Document Submission




   Troubleshoot common Azure deployment en'Ol's, MICROSOFT LEARN (June 20, 2024),
htms://learn.microsoft.com/en-us/azure/azure-resomce-manager/troubleshooting/common-deployment-en-ors.

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       Case 4:24-cv-04722-YGR                        Document 98-3                Filed 01/20/25              Page 28 of 48



blocking" the AI developers. 172 This level of se1vice and engineering may come at an additional cost to a
typical developer not engaged in the paitnerships. 173
4.4.4 - The partnerships provide CSP partners access to performance and fmancial data of
AI models and infrastructure needs of AI model developers.
The paitnerships provide CSP paitners with access to confidential ai1d potentially sensitive financial and
perfonnance infonnation.
For exain le, internal com an documents showed that at least one CSP paitner had access to first-party
API                                           ai1d customer counts of its AI developer pa1tner. 174 This
access to data regarding pe1fo1mance of the model develo er's first-        API mi ht not be accessible to
the CSP absent the partnership. 175 In one case, this data
                                          estions ex lici



The CSP also viewed weekly revenue trend data and customer updates.177
The paitnerships also provide CSP partners with acc.ess to confidential and potentially sensitive financial
information. This exchange of financial and pe1fo1mance infonnation was explicitly required by contract
in at least one case.178
The confidentiality of the AI developers' financial info1mation was underscored by one study respondent,
who characterized the nature of AI developers' financial infonnation as "ve1y sensitive." 179
Access to this information may be helpful to CSPs as they develop their long-tenn strategic plans. For
example, in internal documents, one CSP pa1tner described its partnership with an AI model developer




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                                                                                                   ___ for an example of the type of
support available from a CSP at an extra cost.
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   Similarly, for example, information exchanged regarding MaaS revenue on a rival CSP's MaaS platfonn would
be notable because it might not be accessible to the CSP partner othervvise. This contrasts with the MaaS revenue of
the AI developer on its CSP pa1iner's own latfom1, which the CSP would have access to for billing m oses.
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178 See, e . .,




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     Case 4:24-cv-04722-YGR                 Document 98-3            Filed 01/20/25         Page 29 of 48




partner as providing a "multi-yeai- c stal ball into the furore needs of AI infrastrncrure" 180 and that by
choosing "to pa1tner closely with               , our silicon, networks, systems software, and data center
infrastmcnire will~           ntly etter-pos1tioned in the marketplace to compete and win against tough
competition from. . . .." 181
Strategic planning decisions that CSPs must make include whether and where to build data centers, and
with what capabilities. Documents described the CSP pa1tners 0 ainin° non- ublic i.nsi ts into these other
cloud needs of state-of-the-a1t AI s stems. For exam le,



                                                                     - ari.ng.
4.4.5 - The partnerships permit CSP and AI developer partners to share or otherwise
obtain training data.
For instance, at least one CSP pa1tner had access to the outputs of its pa1tner's models and plalllled to use
that output to train its own models. 183 The CSP wrote internally that access to this data "could both
accelerate our development efforts and also help us m1derstand and value the benefits of using high-
quality training data." 184 Another CSP paitner expressed interest in accessing its AI developer partner's
data directly. 185
Sinlilai·ly, AI developer pattners may be able to access additional training data with the help of their CSP
paitner. The CSP paitner respondents offer popular products in search, social media, adve1tising
technology, productivity software, and streatning platfonn verticals, among others. These compatties
generally collect and st.ore lai·ge amounts of raw and labelled text, audio, image, and video data for each
of those products. Much of this data lies withln the CSP pa1tner's own systems, meaning the data is either
not visible to the public (e.g. , fonn entiies or direct message text) or is visible to the public but protected
from scraping by purpo1ted legal or technical means. 186 Some of the CSP respondents in thls srudy also
operate large-scale web crawlers that serve their search engine products. 187




    See, e.g., Michael Dinzinger et al., A Survey of Web Content Control for Generative AI, ARXIV E- PRINTS (Apr. 2,
2024), https://arxiv.org/pdf/2404.02309.
187 Googlebot, GOOGLE (November 26,2024), https://developers.google.com/search/docs/crawling-

indexing/googlebot; Ove,view ofBing crawlers (user agents), MICROSOFT BING,
https://v.'W\v.bing.com/webmasters/help/which-crawlers-does-bing-use-8c l 84ec0.

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     Case 4:24-cv-04722-YGR                Document 98-3           Filed 01/20/25         Page 30 of 48



Additionally, AI developers may obtain training data for their models by various routes, including
scraping training data from the web, 188 using data collected from users of other products to train their
models, 189 hiring sho1t-tenn contractors to create the data,190 buying data from data brokers or third-party
companies, 191 or buying it from rightsholders directly. 192
In at least one case, an AI model developer partner sought or planned to seek access to training data from
the CSP partner's own products and se1vices. 193 One CSP a1111er noted that its first- ar data would be
used by its AI developer pa11Iler, writing that '
customer data and traffic in training and inferencmg
Training data is a key input that can impact the development and pe1fo1mance of AI models. In at least
one case, a CSP pai1Iler discussed develo        roducts that im roved the abili of AI develo ers to
                     195
obtain trainin° data. For instance




4.4.6 - The partnerships include co-development plans fo1· CSP-designed semiconductor
chips optimized for the needs of AI developer partners' models.
The paimerships also feature co-development plans for CSP-designed AI chips, allowing for testing and
feedback from AI developers to improve the chips for applications in AI training and inference. For
example, Anthropic has publicly described its "deep collaboration" with AWS on chip development,
w1iting that "Anthropic is working closely with Annapurna Labs at AWS on the development and
optilnization of future generations of Trainium accelerators, advancing the capabilities of specialized
machi11e learning hardwai·e." 197




188 Comment of the United States Federal Trade Commission, United States Copyright Office Docket No. 2023-6

(October 30, 2023), https:/lwww.ftc .20Y/svstem/files/ftc eov/pdf/p241200 ftc comment to copyright office.pdf
189 FTC Staff in the Office of Technology and the Division of Privacy and Identity Protection, supra note 95.
190 See, e.g., Krystal Kauffman & Adrienne Williams, Turk Wars: How AI Threatens the Workers Who Fuel It,

STANFORD SOCIAL INNOVATION REv. (Oct. 11, 2023), https://ssir.ora/articles/entty/ai-workers-mechanical-tmk
191 Katie Paul & Anna Tong, Inside Big Tech 's underground race to buy Al training data, REUTERS (Apr. 5, 2024),

https://www.reuters.com/technolo!?V/inside-big-techs-tmderground-race-buy-ai-trainine-data-2024-04-05/.
192 Partnership with Axel Springer to deepen beneficial use ofAl in journalism, OPENAI (Dec. 13, 2023),

h s://o enai.com/index/axel-s 1m2er- artnersh.i /.
193 See, e. ., Res ondent Document Submission




197 Powering the nex,t generation ofAl development with AWS, ANTHROPIC (Nov. 22, 2024),

https://v.rww.anthropic.com/news/anthropic-amazon-trainimn.

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     Case 4:24-cv-04722-YGR                 Document 98-3           Filed 01/20/25         Page 31 of 48




Multiple CSPs cited this as a feature of the collaboration in both their public and plivate documents. 198 In
at least one pa1tnership, a participant asserted that chip feedback and co-development can benefit the
CSP, estimating that their chip co-design efforts resulted in an improvement in price-perfo1mance metrics
for CSP partners. 199
Fmthennore, at least one CSP partner viewed the paitnership as an opportunity to ensure that a major AI
model developer was not training its models solely on a competitor's chips. 200
CSPs have been developing AI chips for their own use and to offer on their cloud platfonns. 201 CSP
partnerships with AI developers to build chips could potentially allow them to develop chips more
quickly- and to develop chips that are tailored to the needs of the major AI developers.
AI developer paitners could also potentially benefit from chip co-development with their CSP partners,
such as hardware infrastmcture optimized for their training and inference needs. OpenAI has publicly
described its hai·dware and softwai·e collaboration with Microsoft as "pav[ing] the way for training more
capable models and making those models cheaper for our customers."202
4.5 - The partnerships offer CSP ancl AI developer partners opportunities to expancl
current products.
4.5.1 - The partnerships offer CSP partners the ability to integrate their AI developer
partners' AI models into their existing products and tools.
In addition to the revenue created in some cases by offering access to the AI developers' models,203 some
CSP paitners emphasized the importance of ensuring that "the most capable models in the world"204 are
available on their cloud platforms. One CSP cited the expansion of its model-as-a-service ("MaaS")


198 What you need to know about the AWS Al chips powering Amazon 's partnership with Anthropic, AMAZON

(October 16, 2023), https://www.aboutamazon.com/news/aws/what-you-need-to-know-about-the-aws-ai-chips-
powerini?-amazons-partnership-with-anthropic. ("Antlu·opic will train and deploy their future FMs on the A WS
Cloud using our Trainimn and Inferentia chips. The AWS chips will be the engines behind the FMs. In addition,
Anthropic will collaborate with us in the development of future Trainium and Inferentia teclmology. "); See also
Siegel, supra note 45 ('"Since first partnering with Microsoft, we've collaborated to co-design Azure's Al
infrastructure at eve1y layer for our models and unprecedented training needs,' said Sam Altman, CEO of OpenAI.
'We were excited when Microsoft first shared their designs for the Maia chip, and we've worked together to refine
and test it with ow· models. Azure's end-to-end Al architecture, now optimized dovvn to the silicon with Maia, paves
the wa for trainino more ca able models and makin those models chea er for our customers."' ;




    See, e.g., Nonu Jouppi, Google supercharges ,nachine learning tasks with TPU custom chip, GoOGLE CLOUD
(May 18, 2016), https ://cloud.google.com/blog/products/ai-machine-learning/google-supercharges-machine-
leamin2-tasks-with-custom-chip.
202
    Siegel, supra note 45.
203
    See Section 4.1.
204
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        Case 4:24-cv-04722-YGR                Document 98-3            Filed 01/20/25      Page 32 of 48



offelings as a benefit of the partnerships. 205 As a reminder, Maas platforms allow customers to access
multiple AI models through a centralized platfonn. A press release from Amazon, for example, makes
clear that the integration of Anthropic 's Claude models into Amazon's Bedrock is pa1t of the larger
pa1tnership that includes chip co-development, investments, and cloud commitments. 206
Public repo1ting and documents produced by respondents indicated that some of the pa1tnerships created
avenues for CSP partners to integrate AI developers' models into their own consumer-facing products,
and that some of these integrations are in progress or have been completed. 207
For paitnerships involving brand association, CSP pa1tners viewed association with a leader in AI model
development in a quickly growing sector as providing benefits. For instance, one pa1tnership provides for
a CSP to be described as the prima1y cloud provider to the AI partner. 208 Another CSP partner described
the bene- t of1artnering with its AI developer company as follows: "our association with- -
and the              brand has attracted customers to explore               as their o-to ~
training an arge anguage models, boosting our leadership pos1t10n
■" 209 The pai·ameters of branding associations were a negotiation pomt mat east one pa1tners 1p.
4.5.2 - The partnerships offer AI developer partners potential paths to growth through the
CSP partners' cloud platforms or product integrations with CSP products.
The paitnerships generally allow the AI developer pa1tners to offer their models via the CSP pa1tner's
cloud platfonns as well as through softwai·e product integrations.
As a part of the partnerships, AI developer paitners made a number of their models available on Maas
platfomis owned by their CSP paitner, as discussed above. 211 Maas platfonns allow customers to access
multiple AI models through a centralized platfonn. Having models available on major cloud platfo1ms
may provide business growth opportunities through exposme to businesses that use those platfonns
already.
Documents obtained through the 6(b) study suggest that AI developer paitners sought in pa1t to grow
their business through access to CSP platfo1ms, including by increasing their access to enterprise
customers. 212



~                           Submission                                      (citing the "[o]pportunity to expand
~ with [AI developer partner]                                        models").
    Amazon and Anthropic Announce Strategic Collaboration to Advance Generative Al, AMAZON (September 25,
2023), https://press.aboutamazon.com/2023/9/amazon-and-anthropic-announce-strategic-collaboration-to-advance-
2enerative-ai.
207 Britney Nguyen, Amazon 's AI-powered Ale.,w is reportedly not even close to being ready, QUARTZ (June 14,

2024), https://gz.com/amazon-alexa-ai-apple-openai-chatgpt-1851540465; Jared Spataro, Introducing Microsoft 365
Copilot - your copilot for work, MICROSOFT (Mar. 16, 2023),
https ://blogs .microsoft. com/blog/2023/03/16/introducing-microsoft-365-copilot-your-copilot-for-work/; Use Copilot
in Microsoft Teams meetings, MICROSOFT, https://support.microsoft.com/en-us/office/get-started-with-copilot-in-
microsoft-teams-meetings-0bf9dd3c-96f7-44e2-8bb8-790bedf066bl .
208 See, e.g., Amazon, supra note 206.
209
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210 See, e. . . Res ondent Document Sub



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    •   s/partner-models/use-claude; Anthropic 's      •        • -   Bedrock, A WS.
                                              •                                                             FT.




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     Case 4:24-cv-04722-YGR               Document 98-3           Filed 01/20/25        Page 33 of 48



Fm1hennore, in at least one case, a respondent expressed that an AI developer pa11ner had the intention to
prioritize deployment on CSP model-as-a-se1vice platforms above deployment of the developer's own
first-pai1)' services. 213
Another way for AI developers to access customers is direct integration of AI developers' models into
enterprise or consumer-facing products offered by CSPs, such as productivity software or social media
tools, as described above. 214 As also noted above, company statements have mentioned some of these
integrations, with one CSP pa1tner integrating its pa11ner's model into productivity and search tools. 215 In
a separate instance, another CSP pa1tner repo1tedly integrated its paitner's AI model into a home voice
assistant. 216

5. Areas to Watch Regarding Potential Implications of the AI
Partnerships
Section 4 outlined staff obse1vations regarding the key tenns of the pa1tnerships. The pa11nerships might
impact competition in myriad ways. The impact could be on competition among CSPs, including either
existing CSPs or potential future entrants. There could also be potential impacts on competition between
AI developers broadly defined, including on potential future entrants, or on products incorporating AI.

To assess the impact on competition one would need to gather case specific facts, beyond those gathered
in this study, such as infonnation from other market pa1ticipants that were not respondents in this 6(b)
study. The analysis of the impact of the partnerships on competition would be highly fact specific and
would need to reflect a broader assessment of the market conditions related to the technologies discussed
in this report. FTC staff has previously underscored the fact-specific nature of competition inquiries into
contractual pai1nerships, stating that pru1nerships can be preferable to mergers in some cases, but that in
others, vertical or horizontal agreements may cross the line into anti-competitive conduct. 217 Furthermore,
such an analysis would also rely on established antitrust principles, such as those outlined in the 2023
Merger Guidelines. Therefore, an analysis of the impact that these pru1nerships might have on
competition is beyond the scope of this repo1t.

This section highlights ce1tain aspects of the pa11nerships that may wanant further consideration.
Specifically, the following considerations are highlighted: access to certain inputs, like computing
resources and enginee1ing talent; switching costs; and access to technical and business infonnation.



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    Yusuf Mehdi, Confirmed: the new Bing runs on OpenAJ's GPT-4, MICROSOFrBING (Mar. 14, 2023),
https://blogs.bing.com/search/march 2023/Confirmed-the-new -Bing-mns-on-OpenAI%E2%80%99s-GPT-4;
Announcing Deploy To Teams from Azure OpenAI Studio, MICROSOFr AZURE AI SERVICES BLOG (July 25, 2024),
https://techcommunity.microsoft.com/t5/ai-azure-ai-services-blog/annotmcing-deploy-to-teams-from-azure-openai-
studio/ba-p/4198388.
216 Greg Bensinger, Ask Claude: Amazon turns to Anthropic 's Alfor Alexa revamp, REuTERs (Aug. 30, 2024),

https:/lwww.reuters.com/technology/artificial-intelligence/amazon-ttm1s-anthropics-claude-alexa-ai-revamp-2024-
08-30/.
217 See Fed. Trade Comm'n, Dealings with Competitors, https://www.ftc .gov/advice-guidance/competition-

gu.idance/imide-antit:rust-laws/dealings-competitors; Fed Trade Comm'n, Dealings in the Supply Chain,
https://v.'W\v.ftc .gov/advice-guidance/competition-1?Uidance/guide-antitrust-laws/dealings-supply-chain.

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      Case 4:24-cv-04722-YGR               Document 98-3            Filed 01/20/25        Page 34 of 48



The confidentiality restrictions inherent in 6(b) studies may limit specific public analysis of each
partnership.

5.1 - The partnerships could affect access to certain inputs, such as computing
resources and engineering talent.
The partnerships might affect access to key inputs such as computing resources and talent in ways that
could impact competition for both AI developer partners and non-partner AI developers.

5.1.1 - Access to computing resources
The partnerships reviewed are notable for the fact that the investors are also suppliers of an input that is
key for AI developers—computing resources. Users of that input include the CSP partners themselves in
their role as AI developers, the AI developer partners, and non-partner AI developers.

As noted in Section 4, the agreements give CSP partners equity shares in AI developers as well as
revenue-sharing rights and certain consultation rights to varying degrees. Therefore, the partnerships
might alter incentives for CSP partners that control a product or a service that other market participants
would use. For example, a CSP partner might consider limiting access to computing resources for AI
developers other than its partner AI developer.

Conversely, the terms of certain partnership agreements could restrict or raise the costs of using non-
partner cloud providers for AI developers who are parties to the agreement. Such an agreement might
limit access of competing CSPs to these large customers thereby limiting these CSPs’ ability to expand.
These potential restrictions on competing non-partner CSPs may make it difficult for AI developers—
both partners and non-partners—to obtain the computing resources they need to train models at scale and
run inference.

Whether or not these dynamics will raise competition concerns will depend, among other things, on the
availability of substitutes, the competitive significance of the product, and the competitive conditions
among CSPs and AI developers. It could also depend on whether the partnerships allow the CSP and the
AI developers to better coordinate their product offerings (Section 4.5).

CSP partners have acknowledged in public and private documents that AI computing resources currently
have few providers (see Section 3.2) and are in high demand. As one CSP wrote in internal documents,
“we face a problem today where scarce GPU resources are being disproportionately used by a few large
customers who are getting steep discounts (up to         discounts on
       is [sic] driving hoarding behavior...” 218
CSP partners have acknowledged capacity constraints for AI computing resources publicly. On a July
2024 earnings call, Microsoft referenced “existing AI capacity constraints” and stated plainly that “we are
constrained on AI capacity.” 219 Amazon stated similar concerns in an October 2024 earnings call, citing
demand for AI chips as its primary AI capacity concern: “Pretty much everyone today has less [AI]




218
   Respondent Document Submission                               .
219
   Nadella & Hood, supra note 74. (“We expect capital expenditures to increase on a sequential basis given our
cloud and AI demand, as well as existing AI capacity constraints. […] We are, and we’ve talked about it now for
quite a few quarters, we are constrained on AI capacity.”).

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      Case 4:24-cv-04722-YGR                Document 98-3            Filed 01/20/25         Page 35 of 48



capacity than they have demand for, and it's really primarily chips that are the area where companies
could use more supply. ,mo

This is happening in an environment where there are indications that the large computing requirements of
the partnerships may have, at times, made it difficult for CSP partners to have computing resources left
for other AI developers, including startups. In 2023, one CSP partner wrote internally about its inability at
that time to meet AI-specific demand even from smaller AI developers, writing, "We are also unable to
serve a growing number of startups who need bursts of GPU capacity to train or fine tune deep-lea.ming
models and bring their Generative AI products to market, but can't commit to long tenn deals. " 221 It is
unclear whether or how that CSP's ability to provide GPU capacity to startups has changed since then.

In late 2023, the shortage of computing resources for AI was so severe that AI developers reported multi-
month waits for renting AI accelerator chips on major cloud providers. 222 One developer told reporters at
that time that '"It is literally not possible to get access' to AI servers 'unless you have some existing
contract with [major cloud providers] or you're pre-paying for it. "'223

5.1.2 - Access to talent
AI developer talent is also important to researching and developing the most advanced AI models and
applications. As FTC staff has previously stated, "the talent companies can acquire and maintain may
play a key role in not only the path, but also the rate, of generative Al's evolution." 224 An open question is
whether the prutnerships may consolidate access to this talent pool in the hands of a limited number of
films.
One 6(b) respondent wrote that the "talent bru·" is "exceptionally high," and that a key organizational
objective for 2024 is ensuring that the company has access to this rru·e talent. 225 In another situation, a
respondent wrote in internal documents about development of large AI models that "[t]he scaling frontier
is primarily about money and compute, but of course also depends strongly on talent." 226
While specialized skills are core to many business endeavors- including software engineering- the skills
necessruy to develop and deploy large-scale generative AI models are relatively rru·e and may be difficult
to acquire outside of working for large AI developers or the hyperscalers themselves. 227 Underscoring the
relative scarcity of certain types of AI talent, one 6(b) respondent wrote that "For training the LLM, there


220 Amazon.com (AMZN) Q3 2024 Earnings Call Transcript, M01LEYFOOL (Oct. 31 , 2024),

htt,ps://v.'W\v.fool.com/earnings/call-transcripts/2024/ 10/3 l/amazoncom-amzn-<J3-2024-earnings-call-transcript/ ("I
think pretty much eve1yone today has less capacity than they have demand for, and it's really primarily chips that
are the area where companies could use more supply. And so, we' re growing at a ve1y rapid rate and have grown a
pretty big business here in the AI spac~
22 1
     Respondent Document Submissionl l l l l l l l l l l l l l l,
222 Hohues & Gardizy, supra note 70.
223 Id.
224 Staff in the Bureau of Competition & Office of Technology, Fed. Trade Comm'n, Generative AI Raises

Competition Concerns (June 29, 2023), https://www.ftc .gov/policv/advocacv-research/tech-at-
ftc/2023/06/generative-ai-raises-com etition-concems.
225
     Respondent Document Submission
226
     Respondent Document Submission
227 FTC Staff in the Bureau of Competition & Office of Technology, supra note 224. ("Developing a generative [AI]

model requires a significant engineering and research workforc.e with pruticular- and relatively rare-skillsets, as
well as a deep understanding of machine learning, natural language processing, and computer vision."); see, e.g.,
this suggested skill in a recent Open.AI job posting: "Past experience in creating high-pe1fo1mance implementations
of deep leaming algorithnis" here: Research Eng;neer, OPEN.AI, htt,ps://openai.com/careers/research-en2:ineer/.

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      Case 4:24-cv-04722-YGR                Document 98-3            Filed 01/20/25         Page 36 of 48



are only a few groups in the world who understand the methodology
               ” 228
Dynamics around access to talent may be reflected in some recent deals between AI startups and CSPs,
which have included elevating talent from AI startups to leadership roles at CSPs. For example,
Microsoft’s March 2024 deal with Inflection led to Inflection’s former CEO becoming the CEO of
Microsoft AI; 229 Google’s August 2024 transaction with Character.ai reportedly resulted in Character.ai’s
former CEO becoming a VP at Google, where he is “one of three people leading Google’s efforts to build
the next version of its most powerful AI technology, Gemini;” 230 and Adept’s former CEO became the
head of one of Amazon’s AI units as a part of a deal between Adept and Amazon in June of 2024. 231

5.2 - The partnerships could increase contractual and technical switching costs for
AI developer partners.
The partnerships might affect AI developer partners by increasing switching costs and making it more
difficult for them to change CSPs or by restricting their use of multiple CSPs.

5.2.1 - Contractual Switching Costs
As mentioned previously, AI developers require a significant amount of computing resources and AI-
specific infrastructure. If one CSP cannot meet an AI developer’s needs, then an AI developer might
consider contracting with one or multiple other CSPs. However, exclusivity terms and other provisions in
the partnership agreements may prevent the AI developer partner from adding resources from a different
CSP or result in increased switching costs that makes migrating from one CSP to another very difficult.

The partnership contracts generally include cloud computing spending commitments, and some include
publicly announced exclusivity requirements that require AI developers to use services from their CSP
partners. 232
As described in Section 4.3, AI developer partners have agreed to spend a significant and set amount of
investment money on services from their CSP investor, sometimes over a prescribed amount of time. For
instance, according to public reporting, Anthropic’s September 2023 committed use contract with
Amazon requires Anthropic to spend $4 billion on AWS over the next five years. 233 These spend




228
    Respondent Document Submission
229
    Satya Nadella, Mustafa Suleyman, DeepMind and Inflection Co-Founder, Joins Microsoft to Lead Copilot,
MICROSOFT (2024), https://blogs.microsoft.com/blog/2024/03/19/mustafa-suleyman-deepmind-and-inflection-co-
founder-joins-microsoft-to-lead-copilot/ (“Mustafa will be EVP and CEO, Microsoft AI, and joins the senior
leadership team (SLT), reporting to me.”).
230
    Miles Kruppa & Lauren Thomas, Google Paid $2.7 Billion to Bring Back an AI Genius Who Quit in Frustration,
WALL STREET JOURNAL (Sept. 25, 2024), https://www.wsj.com/tech/ai/noam-shazeer-google-ai-deal-d3605697 (“It
is a remarkable turn of events after Shazeer publicly said the search giant had become too risk-averse in developing
AI. The 48-year-old engineer is now one of three people leading Google’s efforts to build the next version of its
most powerful AI technology, Gemini. […] Shazeer, however, is already back to work at Google with the title of
vice president.”).
231
    Palmer, supra note 35. (“Luan will oversee Amazon’s ‘AGI Autonomy’ division, and report to Prasad, he wrote
in the memo, which CNBC obtained. Amazon confirmed the contents of the memo. Geekwire was first to report on
it.”).
232
    OpenAI, supra note 149.
233
    See Jin & Dotan, supra note 7.
                                                         32
      Case 4:24-cv-04722-YGR              Document 98-3           Filed 01/20/25         Page 37 of 48



commitments may limit the options of AI developers and, for example, may require them to stay in the
cloud ecosystem if they are to receive future investments from the CSP. 234
Additionally, as described in Section 4.2, multiple partnerships have provisions that impose conditions or
restrictions on AI developer partners’ ability to operate with other cloud providers or companies. For
example, OpenAI and Microsoft have publicly disclosed that Microsoft is OpenAI’s “exclusive cloud
provider.” 235 These restrictions could keep AI developer partners from switching CSPs or working with
multiple CSPs, even after the partnerships have ended. Exclusive provision of computing resources could
have other long-term effects. For example, even if Microsoft’s supercomputer, described in Section 4.4.1,
were to become available for other developers in the future, it could potentially be more difficult for those
developers to adapt their models to the supercomputer’s design, due to the fact that it was “designed
specifically to train [OpenAI’s] AI models.” 236
The combination of specific contractual requirements of the partnerships described in this report could
potentially have the effect of turning AI developer partners into long-term customers for CSPs.

The committed spend agreements are also made in an environment where AI developer partners may have
limited options, both in terms of CSPs and funders. Although CSPs are not the only source of funding and
computing resources for AI developers, they remain by far the largest for the AI developer partners in this
study. 237 To the extent that the AI developer partners feel they must partner with a CSP—and to the extent
they feel they have a limited number of CSPs with which to partner—any potential benefits to AI
developer partners from the partnerships do not eliminate concerns arising from the potential lock-in
effects of the partnership agreements.

Because AI developers are engaged in a complex set of agreements with CSPs—including billions of
dollars of investments—AI developers are likely also considering the terms of the broader partnership.
One consideration could be how longer term spend commitments are packaged with investments and
computing resources in the partnerships, potentially resulting in AI developers accepting longer spend
commitments than they might otherwise. Similarly, it is not clear whether AI developers could obtain
computing resources and capital without needing to commit to other partnership terms.

Egress fees on the vast stores of data used for AI—which were raised as a potential concern by
commenters in response to the FTC’s 2023 Cloud Computing RFI 238—could be another variable
considered by AI developers when determining the cost of switching providers after the partnerships have
ended.




234
    Anissa Gardizy & Kate Clark, Anthropic Has Floated $40 Billion Valuation in Funding Talks, THE
INFORMATION (Sept. 23, 2024), https://www.theinformation.com/articles/openai-rival-anthropic-has-floated-40-
billion-valuation-in-early-talks-about-new-funding.
235
    See, e.g., Microsoft, supra note 149.
236
    Langston, supra note 158.
237
    Respondent Document Submission


238
   See Nick Jones, Fed. Trade Comm’n, Cloud Computing RFI: What we heard and learned (Nov. 16, 2023),
https://www.ftc.gov/policy/advocacy-research/tech-at-ftc/2023/11/cloud-computing-rfi-what-we-heard-learned.
                                                       33
      Case 4:24-cv-04722-YGR               Document 98-3           Filed 01/20/25         Page 38 of 48




5.2.2 - Technical Switching Costs
Technical barriers may also impact AI developers’ ability to easily switch to alternative CSPs. 239 The time
and cost of switching may be especially important in the context of generative AI due to the rapid
development and deployment of new models. For instance, certain AI chip types are only available via
certain CSPs—for example, Amazon and Google each design AI chips that are only available to access
via their cloud offerings. 240 In these cases, if an AI developer relies on those chips, it would need to incur
both cloud and chip switching costs to switch CSPs.

Regarding cloud switching costs, migration from one CSP to another can be potentially time- and capital-
intensive due to a range of factors, including technical barriers. This may be particularly true for AI
developers that rely on CSPs for specialized computing resources and managed services. OpenAI itself
was reportedly required to “port its services to run on Microsoft Azure” as part of its initial partnership
with Microsoft in July of 2019. 241 Changes made to OpenAI’s publicly available code suggest that
OpenAI was still in the process of migrating to Azure in December of 2020, a total of 17 months later. 242
Regarding AI chip switching costs, as explained in Section 3, there are a number of factors that can make
it difficult to switch between AI chips, including that models may be built in ways that depend on specific
AI chips. For example, the software used to interact with AI chips can be specific to the chip type,
meaning that AI developers would need to rewrite the software that interacts directly with AI chips if they
wanted to switch AI chips. This is true of Nvidia’s software platform, CUDA, which is currently only
compatible with Nvidia chips; 243 and AWS’s Neuron Software Development Kit, which currently only
works with AWS’s Inferentia and Trainium chips. 244
Thus, migrating to infrastructure that uses other AI chip types could potentially be time-intensive and
costly. As public reporting recently described with respect to Anthropic’s use of Amazon’s specialized AI
chips, “Shifting to the Amazon server chip ... could also lock Anthropic into using Amazon Trainium
servers, making it more difficult for the AI startup to use other cloud providers or to lease its own data
centers in the future, as Amazon doesn’t make its hardware available to facilities run by other
companies.” 245

5.3 - The partnerships provide CSP partners access to sensitive technical and
business information that may be unavailable to others.
The partnership agreements may allow CSP partners to use certain sensitive technical and business
information that other CSPs and AI developers may not have (e.g., generative AI models, AI development

239
    The AI developers subject to this report have to date only used CSPs in order to access the large scale of
computing resources needed to train and deploy their models; thus, the focus of this section is on switching CSPs.
240
    Smith, supra note 56.
241
    OpenAI forms exclusive computing partnership with Microsoft to build new Azure AI supercomputing
technologies, MICROSOFT (July 22, 2019), https://news.microsoft.com/2019/07/22/openai-forms-exclusive-
computing-partnership-with-microsoft-to-build-new-azure-ai-supercomputing-technologies/. (“OpenAI will port its
services to run on Microsoft Azure, which it will use to create new AI technologies and deliver on the promise of
artificial general intelligence[.]”).
242
    Jeffrey Wu, Commit to openai / gpt-2 repository, GITHUB (Dec. 2, 2020), https://github.com/openai/gpt-
2/commit/a74da5d99abaaba920de8131d64da2862a8f213b. (The change made on December 2, 2020 includes “move
to azure” as the commit message, a message added in version control systems to explain why a change has been
made to code.).
243
    CUDA GPUs – Compute Capability, NVIDIA, https://developer.nvidia.com/cuda-gpus.
244
    Welcome to AWS Neuron, AWS, https://awsdocs-neuron.readthedocs-hosted.com/en/latest/index.html. (“AWS
Neuron is the SDK used to run deep learning workloads on AWS Inferentia and AWS Trainium based instances.”).
245
    Gardizy, supra note 126.
                                                       34
        Case 4:24-cv-04722-YGR            Document 98-3          Filed 01/20/25        Page 39 of 48



methods, confidential chip co-design, partner finances, and customer usage and revenue numbers) to
develop their own internal models and applications, including products that may compete with those of
their partners.
As noted in Section 4, CSPs, through their partnerships with AI developers, gain access to business
intelligence and product information that they might not otherwise have. This includes information that
AI developer partners are contractually required to provide to CSP partners or information that the CSPs
may gain via monitoring, analyzing, and collecting information from their AI customers (e.g., usage
metrics).
In addition to offering cloud services, all three CSP partners develop their own generative AI models and
products that may compete with those of their partners. One CSP partner noted that its AI developer
partner “continues to feel competitive threat from” the CSP. 246

Voice assistants are one example—of many—of an area of potential overlap between CSP partner
products and AI developer partner products. One reporter in 2023 described a risk that new voice
assistants, such as those provided by AI developer partners, might be “coming for Siri and Alexa’s
jobs.” 247 In fact, Siri and Alexa are now, or will soon be, reportedly powered by the AI partner
respondents in this study. 248 Potential concerns about information exchange between CSPs and their AI
model developer partners may be heightened by any such competition between their products.
Technical knowledge from the AI developer partner—including IP and know-how such as model
development methodologies and chip design suggestions—may therefore present CSP partners with
valuable information regarding generative AI development unavailable to non-partner CSPs. As described
in Section 4, the partnerships involved the sharing of:
       a) Generative AI models;
       b) AI model development methodologies, for instance via explicit model sharing agreements and
          employee exchanges;
       c) Confidential chip co-design; and
       d) Miscellaneous product improvement suggestions in areas such as networking, storage, and MaaS
          offerings.
These information exchanges occurred through regular communication between partner companies,
including emails and inter-team meetings.
Cross-company meetings and employee exchange potentially allow for exchange of business strategy
information. As one company wrote in narrative responses to the agency, “To facilitate any of
            ’s engagements with                                       ,             may also meet with
corresponding product and business team members from
to address questions or considerations; to provide ideas, suggestions, and feedback on implementation; or

246
      Respondent Document Submission



247
    Saritha Rai, Smarter AI Assistants Are Coming for Siri and Alexa’s Jobs, BLOOMBERG (May 9, 2023),
https://www.bloomberg.com/news/newsletters/2023-05-09/siri-alexa-google-assistant-threatened-by-smarter-ai-
chat-bots.
248
    OpenAI and Apple announce partnership to integrate ChatGPT into Apple experiences, OPENAI (June 10, 2024),
https://openai.com/index/openai-and-apple-announce-partnership/; Jess Weatherbed, Amazon’s new Alexa voice
assistant will use Claude AI, THE VERGE (Aug. 30, 2024), https://www.theverge.com/2024/8/30/24232123/amazon-
new-alexa-voice-assistant-claude-ai-model.
                                                     35
      Case 4:24-cv-04722-YGR             Document 98-3           Filed 01/20/25       Page 40 of 48



to provide updates on               ’s performance and financial condition.” 249 Documents reviewed by
staff demonstrated that potentially sensitive financial and business information regularly flowed to at least
one CSP. 250 CSPs could potentially use this business intelligence information—sensitive financial and
strategy information—to understand, for example, which of their partners’ offerings are most in demand.
They could then adjust their own product strategy accordingly.
Therefore, technical knowledge from the AI developer partner—including IP and know-how such as
model development methodologies and chip design suggestions—could present CSP partners with
informational advantages regarding generative AI development over non-partnered CSPs. Access to
insights and information is suggested by one CSP internal strategy document that described that a key
motivation for a partnership was to “[m]aintain relationship with one of the leading            AI
startups.” 251

Losing that relationship, for CSP partners, could have meant falling behind on generative AI
development. Or, as one CSP partner put it in internal documents: “If we wait for our own models to
mature, we risk not participating in developing the necessary IP to build, operate, and secure these
applications. By partnering with              , we can more quickly learn the ‘art’ of refining and
reinforcing these types of models and better understand how to effectively integrate them into
applications.” 252 In another internal document, a respondent described the risk of CSP partners “cloning”
the research efforts of their partners. 253

Internal board meeting notes from one CSP partner highlighted that it received early access to hardware
innovations through its partnership. The respondent wrote that


                                                                    ” 254 Through this collaboration, the
CSP was able to obtain hardware-related business intelligence.

The CSP partners may also gain additional valuable information via their role as platform providers. As
described in Section 3, all three CSPs offer “Model-as-a-Service” products, where customers can access a
range of models via the CSP’s platform. The MaaS platforms operate as an intermediary between a
developer who wants to integrate AI into its application, and a model provider who wants to monetize its
model. Of note, each CSP also offers its own first-party models on its MaaS platforms—Amazon’s Titan
series of models, 255 Microsoft’s Phi series of models, 256 and Google’s Gemini series. 257

In their role as a platform for other models (including those of their partners), the CSPs gain valuable
insight into several metrics that are otherwise unavailable to rival AI developers that compete on the
platform. First, they have insight into the popularity and prevalence of generative AI adoption across
249
250
   See, e.g., Respondent Document Submission                                     (describing revenue forecasts
of partner company to board);
251
    Respondent Document Submission                                .
252
    Respondent Document Submission                                       .
253
    Respondent Document Submission                           .
254
    Respondent Document Submission
255
    Amazon Titan in Amazon Bedrock, AWS, https://aws.amazon.com/bedrock/titan/; Amazon Staff, Introducing
Amazon Nova, our new generation of foundation models, AMAZON (Dec. 3, 2024),
https://www.aboutamazon.com/news/aws/amazon-nova-artificial-intelligence-bedrock-aws.
256
    Phi open models, MICROSOFT, https://azure.microsoft.com/en-us/products/phi.
257
    Innovate faster with enterprise-ready AI, enhanced by Gemini models, GOOGLE CLOUD,
https://cloud.google.com/vertex-ai?hl=en#build-with-gemini.
                                                     36
      Case 4:24-cv-04722-YGR                Document 98-3            Filed 01/20/25         Page 41 of 48



industries. For example, Amazon touted in an August 2024 earnings call that “tens of thousands of
companies” are using Bedrock. 258 Usage patterns and volumes from platforms give additional insight
relative to those who do not operate such a platform.

Second, CSPs have information on which models are being used by their cloud customers. For example,
documents received pursuant to the 6(b) orders indicate that at least one CSP has data on how often its
own first party models are being used relative to third party models it offers and uses that information to
make business decisions. 259

Information on usage of generative AI models of various sizes, costs, and latency by a range of customers
could potentially help inform business strategies for the CSPs—including their first-party model strategy,
potentially providing them with an advantage over other AI model developers (partners or otherwise).
One open question is the extent to which CSPs are seeing that certain types of models are gaining more
traction and shifting their strategy to focus on developing their own similar first party models—or the
extent to which they are deciding not to develop models for a given use case if they see other models
being highly successful at that use case.

Notably, a CSP may have access to this potentially sensitive usage data for any AI developers offering
their models on the CSP’s MaaS offering—not just for those AI developers in the partnerships considered
in this study. For example, Microsoft reported in May of 2024 having “nearly 1,700 models in the Azure
AI catalog” to choose from. 260 The hosting of these models could potentially also give CSPs insight
across non-partnership AI developer usage.

The extent and significance of these potential information advantages over non-partnered CSPs may
require further evaluation, such as by evaluating what information is available to non-partnered CSPs.

6. Conclusion
Over the past few decades, technological developments have provided enormous benefits to society and
helped the United States stay a global leader in innovation. Commission leadership has highlighted the
great promise of AI to benefit consumers and make American businesses more effective, 261 while
recognizing potential risks to competition and consumers, such as “the expanding adoption of A.I. […]
further locking in the market dominance of large incumbent technology firms.” 262


258
    Amazon.com (AMZN) Q2 2024 Earnings Call Transcript, MOTLEY FOOL (Aug 1, 2024),
https://www.fool.com/earnings/call-transcripts/2024/08/01/amazoncom-amzn-q2-2024-earnings-call-transcript/.
259
    Respondent Document Submission                                        Table 2 “Revenue by Service” (showing a
breakdown of revenue from                 vs.                         ).
260
    Ryan Roslansky, Jefferies Software Conference, MICROSOFT (June 6, 2024), https://www.microsoft.com/en-
us/investor/events/fy-2024/jefferies_software_conference. (“And so we have nearly 1,700 models in the Azure AI
model catalog. So that's what lives within that Azure AI Studio I mentioned earlier.”).
261
    See, e.g., Prepared Statement of Melissa Holyoak, Commissioner, Federal Trade Commission Before the
Subcommittee on Innovation, Data, and Commerce of the Energy and Commerce Committee, United States House
of Representatives, Concerning “The Fiscal Year 2025 Federal Trade Commission Budget” (July 9, 2024),
https://www.ftc.gov/system/files/ftc_gov/pdf/commissioner-holyoak-testimony-7-5-24.pdf.
262
    Lina M. Khan, Lina Khan: We Must Regulate A.I. Here’s How., NEW YORK TIMES (May 3, 2023),
https://www.nytimes.com/2023/05/03/opinion/ai-lina-khan-ftc-technology.html. (“A handful of powerful businesses
control the necessary raw materials that start-ups and other companies rely on to develop and deploy A.I. tools. This
includes cloud services and computing power, as well as vast stores of data. “Enforcers and regulators must be
vigilant. Dominant firms could use their control over these key inputs to exclude or discriminate against downstream
rivals, picking winners and losers in ways that further entrench their dominance.”).
                                                         37
      Case 4:24-cv-04722-YGR              Document 98-3           Filed 01/20/25         Page 42 of 48



As staff has laid out above, generative AI requires extensive resources and funding to provide access to
infrastructure, access to talent, and access to data to train foundation models. This is why some firms have
used technology partnerships, investments, and other deals to accelerate development and deployment of
AI models. While these types of deals are not a new phenomenon, they have seen a high-profile
resurgence due to the generative AI wave and increased merger scrutiny.263 The partnerships examined in
the present report are prime examples of this resurgence—making it important that the FTC and the
public understand the terms of the partnerships and their impacts on competition and consumers.
Through a scoped and targeted 6(b) process, staff were able to obtain core non-public pieces of
information regarding partnership terms and establish areas to watch going forward related to potential
impacts of the partnerships on the AI ecosystem.




263
   See, e.g., Press Release, Fed. Trade Comm’n, FTC and DOJ Seek Info on Serial Acquisitions, Roll-Up Strategies
Across U.S. Economy (May 23, 2024), https://www.ftc.gov/news-events/news/press-releases/2024/05/ftc-doj-seek-
info-serial-acquisitions-roll-strategies-across-us-economy.
                                                       38
        Case 4:24-cv-04722-YGR              Document 98-3          Filed 01/20/25       Page 43 of 48




                              Appendix A. Order Specifications

Complete orders, including definitions, can be found on the Commission’s website. 264
                                                 Specifications
       1. Provide all agreements and related documents (e.g., term sheet, schedules, attachments, side
          letters) for the Company’s investment in or partnership with [PARTNER COMPANY] (the
          “transaction”). Identify and explain each strategic rationale for the transaction discussed or
          contemplated by the Company, or any of its officers, directors, or employees.

       2. Identify, explain, and provide documents sufficient to show: (i) the nature and extent of Your
          interaction with and influence over [PARTNER COMPANY]; (ii) the engagement and interaction
          between You and [PARTNER COMPANY] as it concerns business operations and strategic
          decision-making (including, but not limited to, decisions around the initiation, launch, road-
          mapping, development, and discontinuation of products and services; decisions around the
          pricing of products and services; decisions around the granting of access to products and services;
          and decisions around personnel, including the hiring and allocation of staff; (iii) the subject,
          personnel, and dates of any regular meetings between You and [PARTNER COMPANY]; and
          (iv) any governance or oversight rights or options (e.g., Board seats) that You have or may
          exercise with respect to [PARTNER COMPANY].

       3. Provide all analyses, reports, studies, and surveys prepared by or for any senior management for
          the purpose of evaluating or analyzing the transaction with respect to its impact or potential
          impact (including but not limited to the impact or potential impact on competition; on other
          market participants; on Your market position across lines of business; and on Your plans with
          regards to investment, expansion, retrenchment, or allocation of resources across markets and
          lines of business). For avoidance of doubt, this includes all analyses, reports, studies, and surveys
          by You or [PARTNER COMPANY] or prepared by a third party on Your or [PARTNER
          COMPANY’S] behalf.

       4. Provide, from January 1, 2022 to the present, all documents prepared by or for any senior
          management related to: (i) any agreement or expectation of exclusivity between You and
          [PARTNER COMPANY] across any line of business; (ii) any agreement or expectation of Your
          Company receiving privileged access to products or services provided by [PARTNER
          COMPANY] or of [PARTNER COMPANY] receiving privileged access to products or services
          provided by Your Company; (iii) any restrictions or conditions placed on [PARTNER
          COMPANY’S] ability to set pricing, set terms, or grant access to its products or services, or to
          make any other decision regarding business operations or strategy; (iv) competitive conditions for
          any cloud computing or generative AI products or services (including, but not limited to, cloud
          computing infrastructure, microchips, training data, models, and products or services that
          incorporate generative AI); (v) the use of cloud computing in generative AI products or services;
          and (vi) your willingness or ability to provide, supply, or offer cloud computing services or
          generative AI products, services, or capabilities to other companies (including, but not limited, to


264
      Fed. Trade Comm’n, supra note 3.
                                                        39
 Case 4:24-cv-04722-YGR              Document 98-3          Filed 01/20/25        Page 44 of 48



    any discussions of pricing and service levels, supply limitations, technological constraints, or
    contractual restrictions).

5. Provide all materials, including any communications, responses, analyses, reports, studies,
   surveys, and any other documents, that You have provided to any government entity, including
   foreign government entities, in connection with any investigation, request for information or other
   inquiry related to Specifications 1-4, above.




                                                 40
      Case 4:24-cv-04722-YGR                  Document 98-3            Filed 01/20/25          Page 45 of 48



                                           UNITED STATES OF AMERICA
                                       Federal Trade Commission
                                              WASHINGTON, D.C. 20580

    Office of Commissioner
     Andrew N. Ferguson


         Concurring and Dissenting Statement of Commissioner Andrew N. Ferguson
                         Joined by Commissioner Melissa Holyoak
         Regarding the FTC Staff Report on AI Partnerships & Investments 6(b) Study
                                  Matter Number P246201

                                                 January 17, 2025

        Today, the Commission votes to release a staff report about the partnerships between three
Big Tech giants (Amazon, Google, and Microsoft) and two artificial intelligence (“AI”) developers
(Anthropic and OpenAI). 1 AI technology shows remarkable promise. 2 It could be a driving force
                               0F                                                     1F




for innovation, economic growth, and increased productivity for American workers in the coming
years. AI may also be the most significant challenge to Big Tech firms’ dominance since they
achieved that dominance. These two possibilities require the Commission to strike a careful and
prudent balance. On the one hand, the Commission must not charge headlong to regulate AI. Such
regulation could strangle this nascent technology in its cradle, or move the development of the
technology to foreign states hostile to our national interests. 3 On the other hand, the Commission
                                                                          2F




must remain a vigilant competition watchman, ensuring that Big Tech incumbents do not control
AI innovators in order to blunt any potential competitive threats.

        I vote to approve the publication of this staff report because it sheds light on three Big
Tech-AI partnerships: Amazon-Anthropic, Google-Anthropic, and Microsoft-OpenAI. Given AI’s
importance to the American economy and our shared national concern about the power of Big
Tech, Congress, state officials, and the public deserve to understand how these partnerships work.
While some of what the staff report reveals was already public, it adds valuable insights gleaned
from company documents produced in response to the Commission’s Section 6(b) orders. 4 The                       3F




staff report’s description of the “AI technology stack” may also serve as a useful resource for those
seeking to understand this complex, rapidly evolving industry.

       I dissent, however, from the inclusion of Section 5 of the staff report, in which staff
speculates about “Areas to Watch Regarding Potential Implications of the AI Partnerships.” This
1
  FTC Staff Report on AI Partnerships & Investments 6(b) Study (January 2025) (“AI Partnerships Staff Report”).
2
  See Concurring and Dissenting Statement of Comm’r Andrew N. Ferguson, Social Media and Video Streaming
Services Report, Matter No. P205402, at 10–11 (Sept. 19, 2024).
3
  Concurring and Dissenting Statement of Comm’r Andrew N. Ferguson, Social Media and Video Streaming Services
Report, Matter No. P205402, at 11 (Sept. 19, 2024) (“A knee-jerk regulatory response will only squelch innovation,
further entrench Big Tech incumbents, and ensure that AI innovators move to jurisdictions friendlier to them—but
perhaps hostile to the United States.”); Dissenting Statement of Comm’r Andrew N. Ferguson, Joined by Comm’r
Melissa Holyoak, In re Rytr, LLC, Matter No. 2323052, at 9 (Sept. 25, 2024) (“As our country has always done, we
should give [the AI] industry the space to realize its full potential—whatever that turns out to be. America is the
greatest commercial power in the history of the world in no small part because of its tolerant attitude toward innovation
and new industry.”).
4
   FTC AI Investments 6(b) Order and Resolution (Jan. 25, 2024), https://www.ftc.gov/system/files/ftc_gov
/pdf/P246201_AI_Investments_6%28b%29_Order_and_Resolution.pdf.
      Case 4:24-cv-04722-YGR                 Document 98-3               Filed 01/20/25       Page 46 of 48




Section 6(b) study was quick—concluding within a year 5—and notably narrow in scope, covering
                                                                    4F




only three partnerships between five companies. Such an approach may have been appropriate:
rapid developments within the AI industry required speed to ensure the staff report’s relevance.
But the limited, brief nature of the study should foreclose the drawing of broad conclusions about
the AI industry and its future, or even about the partnerships themselves. The staff report
acknowledges as much, deploying hedging language throughout Section 5 and making clear that
“an analysis of the impact that these partnerships might have on competition is beyond the scope
of this report.” 6 The Commission therefore should not have published speculation about what the
                  5F




future may hold. Readers should skip Section 5 of the Report, or read it with tremendous
skepticism.




5
  Press Release, FTC, FTC Launches Inquiry into Generative AI Investments and Partnerships (Jan. 25, 2024),
https://www.ftc.gov/news-events/news/press-releases/2024/01/ftc-launches-inquiry-generative-ai-investments-
partnerships.
6
  AI Partnerships Staff Report at 29; see also id. at 1 (“A comprehensive analysis of the subject partnerships is beyond
the scope of the report.”).

                                                           2
       Case 4:24-cv-04722-YGR               Document 98-3           Filed 01/20/25             Page 47 of 48


                                         UNITED STATES OF AMERICA
                                     Federal Trade Commission
                                            WASHINGTON, D.C. 20580

    Office of Commissioner
       Melissa Holyoak


              Concurring and Dissenting Statement of Commissioner Melissa Holyoak
                          Joined by Commissioner Andrew N. Ferguson

                   AI Partnerships and Investments 6(b) Study, FTC Matter No. P246201

                                               January 17, 2025

         Artificial Intelligence has potential to benefit consumers and make American businesses
more effective. 1 And the United States has been at the forefront of developing AI, thanks to our
                     0F




business environment. As Commissioner Ferguson wrote in a dissent last fall: “America is the
greatest commercial power in the history of the world in no small part because of its tolerant
attitude toward innovation and new industry. There has never been a better place in the world to
have a new idea than the United States. We should go to great lengths to ensure that remains the
case.” 2 Because FTC enforcement decisions affect market conduct and incentives, and ultimately
         1F




consumers, we should act circumspectly to keep America first when it comes to AI. To help achieve
that goal, we can use our authority to better understand evolving AI markets. 3 Today’s staff Report
                                                                                          2F




draws on information obtained from Google, Amazon, Microsoft, OpenAI, and Anthropic. Its
analysis advances our knowledge of some of the commercial dynamics shaping AI’s evolution. 4 I                   3F




have dissented from publishing misguided 6(b) analysis in the past. 5 But because this Report
                                                                                    4F




enhances awareness of how key technology companies have operated in this important and
dynamic area of our economy, I concur in part, while dissenting from Section 5 and sharing the
concerns Commissioner Ferguson articulates in his statement. 6           5F




       At a high level, the Report—based on snapshots of partnerships between the world’s largest
cloud service providers (CSPs) and the AI developers mentioned above—leaves no doubt about
1
  See, e.g., Statement of Comm’r Melissa Holyoak, Subcommittee on Innovation, Data, and Commerce, Energy and
Commerce Committee, U.S. House of Representatives, “The Fiscal Year 2025 Federal Trade Commission Budget,”
at 4 (July 9, 2024), https://www.ftc.gov/system/files/ftc_gov/pdf/commissioner-holyoak-testimony-7-5-24.pdf.
2
  Dissenting Statement of Comm’r Andrew N. Ferguson, Joined by Comm’r Melissa Holyoak, In re Rytr, LLC,
Matter No. 2323052, at 9 (Sept. 25, 2024), https://www.ftc.gov/system/files/ftc_gov/pdf/ferguson-rytr-statement.pdf;
see also Dissenting Statement of Comm’r Melissa Holyoak, Joined by Comm’r Andrew N. Ferguson, In re Rytr,
LLC, Matter No. 2323052, at 5 (Sept. 25, 2024), https://www.ftc.gov/system/files/ftc_gov/pdf/holyoak-rytr-
statement.pdf.
3
  See generally Statement of Comm’r Melissa Holyoak, supra note 1, at 4.
4
  See Fed. Trade Comm’n, Office of Technology, Partnerships Between Cloud Service Providers and AI Developers:
FTC Staff Report on AI Partnerships & Investments 6(b) Study, at 1 (Jan. 2025) (the Report contains staff “findings
from the agency’s 6(b) study into three partnerships involving generative [AI]: Microsoft-OpenAI, Amazon-
Anthropic, and Google-Anthropic. These partnerships involve relationships between the world’s current largest
Cloud Service Providers . . . and two of the most prominent AI model developers.” (citation omitted)).
5
  See, e.g., Dissenting Statement of Comm’r Melissa Holyoak, In re Pharmacy Benefit Managers Report, Matter No.
P221200 (July 9, 2024), https://www.ftc.gov/system/files/ftc_gov/pdf/Holyoak-Statement-Pharmacy-Benefit-
Managers-Report.pdf.
6
  See Concurring and Dissenting Statement of Comm’r Andrew N. Ferguson, Joined by Comm’r Melissa Holyoak,
Regarding the FTC Staff Report on AI Partnerships & Investments 6(b) Study, Matter No. P246201 (Jan. 17, 2025).
     Case 4:24-cv-04722-YGR                Document 98-3            Filed 01/20/25       Page 48 of 48




the significant roles Google, Amazon, and Microsoft play in shaping how AI products and markets
develop. And while some of the Report’s analysis rests on public reporting, and may correlate to
how other markets function, the Report has value due to its underlying context: a more granular
understanding than previously available of a handful of key partnerships between some of the
largest technology companies and AI developers.

       Yet this Report has limitations. Continuing to expand our understanding of other potential
dimensions of these types of partnerships may be worthwhile in the future. Of particular
importance, we know that “generative AI may be used behind the scenes in ways that are opaque
to end-users—such as in content moderation systems on digital platforms,” which increases the
importance of how these technologies are developed. 7 We also know that some entities offering
                                                               6F




cloud services connected to AI development have shown a willingness to engage in lopsided
censorship against certain viewpoints. 8 And some firms—including both CSPs and AI
                                                7F




developers—have made commitments to the Biden-Harris administration about how they will
develop or deploy their AI. 9 Hence, one aspect of partnerships that may be of future interest is
                                8F




whether business-to-business agreements between such companies may operationalize and
incorporate terms and conditions, or design requirements, intended to reshape consumer-facing
products or experiences in ways that restrict free speech.

         At the end of the day, the topics this Report covers are important. While I do not agree with
all of its contents or implications, what staff have described deserves attention from policymakers
and the American public.




7
  See Report, supra note 4, at 15; cf. Concurring and Dissenting Statement of Comm’r Melissa Holyoak, Social
Media and Video Streaming Services Staff Report, Matter No. P205402, at 11 n.70 (Sept. 19, 2024),
https://www.ftc.gov/system/files/ftc_gov/pdf/commissioner-holyoak-statement-social-media-6b.pdf.
8
  See generally, e.g., Concurring Statement of Comm’r Melissa Holyoak, In re 1661, Inc. d/b/a GOAT, FTC Matter
No. 2223016, at 2 n.14 (Dec. 2, 2024), https://www.ftc.gov/system/files/ftc_gov/pdf/holyoak-concurring-statement-
re-goat.pdf; cf. Ranking Member Ted Cruz, U.S. Senate Committee on Commerce, Science, and Transportation,
Weaponizing Terms of Service: How Online Service Providers Use Broad Policies to Silence Conservatives, at i
(Apr. 24, 2024), https://www.commerce.senate.gov/services/files/253BF7A3-EA7E-41B2-85AA-6404BF484870.
9
  See, e.g., Interim Staff Report, Committee on the Judiciary and the Select Subcommittee on the Weaponization of
the Federal Government, U.S. House of Representatives, Censorship’s Next Frontier: the Federal Government’s
Attempt to Control Artificial Intelligence to Suppress Free Speech, at 9 & n.40 (Dec. 18, 2024),
https://judiciary.house.gov/sites/evo-subsites/republicans-judiciary.house.gov/files/evo-media-
document/12.18.24%20Censorships%20Next%20Frontier%20The%20Federal%20Governments%20Attempt%20to
%20Control%20Artificial%20Intelligence%20to%20Suppress%20Free%20Speech.pdf.

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